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   1                           UNITED STATES BANKRUPTCY COURT

   2                          NORTHERN DISTRICT OF CALIFORNIA

   3                                             -oOo-

   4     In Re:                                   ) Case No. 19-30088-DM
                                                  ) Chapter 11
   5     PG&E CORPORATION AND PACIFIC             )
         GAS AND ELECTRIC COMPANY                 ) San Francisco, California
   6                                              ) Friday, June 19, 2020
                             Debtors.             ) 12:00 PM
   7     _____________________________            )
                                                    HEARING ON FORM OF ORDER
   8                                                CONFIRMING PLAN

   9                              TRANSCRIPT OF PROCEEDINGS
                             BEFORE THE HONORABLE DENNIS MONTALI
  10                           UNITED STATES BANKRUPTCY JUDGE

  11     APPEARANCES (Via Zoom):
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         Also Present:                         Debra Grassgreen
  16                                           Individual Fire Claimant

  17     Court Recorder:                       LORENA PARADA/ANKEY THOMAS
                                               United States Bankruptcy
  18                                           Court
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   1        SAN FRANCISCO, CALIFORNIA, FRIDAY, JUNE 19, 2020, 12:00 PM

   2                                            -oOo-

   3             (Call to order of the Court.)

   4                 THE COURT:      Good morning -- or good afternoon.

   5                 THE CLERK:      Good morning -- good afternoon.             This is

   6     the Bankruptcy Court for the Northern District of California.

   7     Court is now in session.          The Honorable Dennis Montali

   8     presiding, Matter of PG&E Corporation.

   9                 THE COURT:      I guess we're bringing Mr. Karotkin in

  10     first, and anyone else asked to come in at this point?

  11                 THE CLERK:      Not at the moment.

  12                 THE COURT:      All right.

  13                 THE CLERK:      I'm bringing Mr. Karotkin in, Your Honor.

  14                 MR. KAROTKIN:       Good afternoon.

  15                 THE COURT:      Good afternoon, Mr. Karotkin.

  16                 MR. KAROTKIN:       How are you, Your Honor?

  17                 THE COURT:      I'm ready to roll.

  18                 MR. KAROTKIN:       Good, good.

  19                 THE COURT:      All right.      I need a name and appearance

  20     from you, even though I know you who you are.

  21                 MR. KAROTKIN:       I'm sorry, sir.        Stephen Karotkin,

  22     Weil, Gotshal & Manges for the debtors.               Thank you.

  23                 THE COURT:      So you've got everything solved for me?

  24                 MR. KAROTKIN:       You've put a huge burden on me over the

  25     last two weeks, and I addressed with my colleagues and other

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   1     plan proponents, and the TCC, almost everything you asked us to

   2     address.     Unfortunately, I couldn't accommodate you on the last

   3     two items.

   4                 THE COURT:     Well, if we're only down to two, that's

   5     okay.    I've got about four items, so let's see.                  Let's compare

   6     lists.     I've got a very discrete matter that needs to be

   7     resolved, or maybe it's been resolved involving the San Joaquin

   8     Irrigation District, and then -- and then we have the one issue

   9     on the securities litigation, a couple of issues on the

  10     creditors' committee, and I've lost track of where we are on

  11     the, what's called issue number 2 in the -- between the trust

  12     and some victims.       So that's what I have on my list.

  13                 MR. KAROTKIN:      Okay.

  14                 THE COURT:     What do you have?

  15                 MR. KAROTKIN:      Let me give you my list.             We have the,

  16     what I'll call the PERA litigation that we can talk about, and

  17     I know Mr. Johnston and Mr. Etkin will want to address that.                    I

  18     think that is largely resolved.            There were some pleadings

  19     filed over the last twenty-four hours with respect to that.

  20                 THE COURT:     Right.

  21                 MR. KAROTKIN:      And I'm sure you've --

  22                 THE COURT:     I'm aware of that.

  23                 MR. KAROTKIN:      There is the San Joaquin issue that was

  24     raised yesterday, I believe, for the first time.                   As far as I'm

  25     concerned, it was raised yesterday for the first time.                    I

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   1     thought we had disposed of that two weeks ago.

   2                There are the two issues with the creditors'

   3     committee.    I'm pleased to say that the issue from last

   4     Thursday, July 11th, on the trust agreement, has been resolved.

   5     And in fact, the trust documents, meaning the -- excuse me, the

   6     Fire Victim's Trust agreement, and the fire victim claims

   7     resolution procedures have been finalized among all of the

   8     parties, and it is our intention later today to file those

   9     documents with an updated plan supplement in final form.                       So

  10     that's another one we took away from you, sir.

  11                THE COURT:      Does the --

  12                MR. KAROTKIN:       That's another one for you.

  13                THE COURT:      -- does the order confirming have to be

  14     conformed to something on the trust resolution, or can they

  15     stand alone in terms of matters?

  16                MR. KAROTKIN:       They can stand alone in the plan

  17     supplement, I believe.         I mean, we do have -- we have filed a

  18     new proposed order which we have modified to incorporate that

  19     you -- your memorandum and decision the other day, so we think

  20     that that proposed order works with what you've already done in

  21     terms of the findings of fact.

  22                So I think -- oh, Mr. Pascuzzi and Mr. Troy, I

  23     believe, have an issue with the time within which they have to

  24     give us the information on cure amounts, which --

  25                THE COURT:      Okay.

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   1                MR. KAROTKIN:        So I think that's it.

   2                THE COURT:       Why don't you tell me, you believe you

   3     have a resolution of the San Joaquin Irrigation District?

   4                MR. KAROTKIN:        I frankly don't understand what they're

   5     asking for.

   6                THE COURT:       Okay.

   7                MR. KAROTKIN:        I think we made it clear in 10.13, I

   8     think it's 10.13, that there's a carve-out for eminent domain,

   9     and I think that's what they raised.               We addressed that.           No

  10     one said anything, and now all of the sudden they are asking

  11     us, as I understand it, to specifically address their piece of

  12     litigation, and I just don't think that's necessary, Your

  13     Honor.    The --

  14                THE COURT:       Okay, let me stop you.          Let's bring Mr.

  15     Glassman in.        Mr. Glassman wanted to be heard.           This is a

  16     discrete question.        I think we can resolve it quickly, and

  17     we'll hear from him.

  18                Good afternoon, Mr. Glassman.             When you come on --

  19     when you unmute, and then state your appearance for the record.

  20     All right?

  21                MR. GLASSMAN:        Good afternoon, Your Honor.            Paul

  22     Glassman of Stradling Yocca Carlson & Rauth for the South San

  23     Joaquin Irrigation District.

  24                THE COURT:       Mr. Glassman, I want to, not apologize,

  25     but I want to tell you I wasn't trying to ignore you when I

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   1     issued my decision.        I thought it was a resolved matter, and so

   2     it was just a done deal, and then when you filed your request

   3     for clarification, maybe I hurt your feelings, and you didn't

   4     think you were -- thought maybe you were unloved.

   5                 But I thought it was resolved in the paragraph 10.13,

   6     and I have to agree with Mr. Karotkin, I think we end up --

   7     this thing looks like a Christmas tree constructed by a

   8     committee if we add onto the order confirming the plan,

   9     specific treatment of various individual parties' disputes.                    So

  10     it seems to me substantively your client's a hundred percent

  11     protected.    I'm not opposed to approving a stipulated order

  12     that sort of lives by itself that memorializes the specifics of

  13     the litigation you've got going on between the debtors and your

  14     clients, but I don't think it belongs in the order confirming

  15     the plan.

  16                 MR. GLASSMAN:      Well, Your Honor, we -- in speaking on

  17     the eminent domain issue, of course, we have actual live

  18     controversy regarding the issue, and we were speaking on our

  19     behalf, and also on behalf of others who, taking the lead, who

  20     have concerns on eminent domain as well.

  21                 So in the resolution of the colloquies, and the Court

  22     may recall one of the colloquies we had where we indicated that

  23     we would review the language, and that we were going to ask for

  24     a specific finding which does nothing more than memorialize

  25     what the debtor has already -- has said in the papers, and the

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   1     purpose is just to make it clear for purposes of our actual

   2     live litigation, so no court, looking at it, has to kind of

   3     figure out whether it's within the scope, and it just adds --

   4     we're just talking about adding a few words in the confirmation

   5     order, just so it says including this specific action.

   6                THE COURT:      Yeah, but listen Mr. Glassman, that's my

   7     point.    You certainly ought to have a clear path to resolution

   8     in front of a superior court judge down in your neck of the

   9     woods who doesn't know about bankruptcy.               That's why a

  10     stipulated separate order that lays out in specific is

  11     perfectly fine, but putting it into a plan, which is dozens and

  12     dozens and dozens of pages long, doesn't solve the problem.                    It

  13     complicates the problem because I've got news for you,

  14     everybody else will want a separate provision in the order, and

  15     I'm not willing to do that, and I think Mr. Karotkin's point is

  16     well taken.

  17                So if the goal here is to make sure the Irrigation

  18     District has nobody -- no bankruptcy issues standing in the

  19     way, I'll solve the problem for you with a standalone order.

  20                MR. GLASSMAN:       That would be fine, Your Honor.

  21                THE COURT:      Mr. Karotkin, you don't care.            You're not

  22     going to complain about that, right?

  23                MR. KAROTKIN:       We're happy to consider a proposed

  24     stipulation, and assuming it is what it is, then it should be

  25     fine, but then --

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   1                THE COURT:      Okay, but what it is should be almost the

   2     verbatim language on page 3 of Mr. Glassman's latest filing.

   3     It's about an eight-line statement that he wants in the order,

   4     and I'll say let's put it in a stipulated side order.

   5                MR. KAROTKIN:       Your Honor, as I said, we'll review it.

   6     I don't -- I haven't consulted with the client if that's the

   7     precise action that we're talking about.

   8                THE COURT:      Okay.

   9                MR. KAROTKIN:       And if it is, that's fine.

  10                MR. GLASSMAN:       Well, Your Honor --

  11                MR. KAROTKIN:       But we need to address it today.

  12                MR. GLASSMAN:       It --

  13                MR. KAROTKIN:       First of all, let me finish.            Mr.

  14     Glassman had an opportunity two weeks ago to tell Your Honor

  15     that he wanted specific language in the order addressing his

  16     particular lawsuit.        I have absolutely no recollection of that,

  17     but what I do have a recollection of is that this language was

  18     agreed to.

  19                THE COURT:      Okay, but Mr. Karotkin, I'm trying to put

  20     this baby to bed, just like you are today, and no one needs to

  21     apologize for not remembering everything.               I'm not going to

  22     apologize for not remembering thousands of things that have

  23     come in front of me in the last two weeks, and you need

  24     neither, but neither does Mr. Glassman.

  25                So look, the language that -- to my way of thinking,

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   1    1015, I believe it is, in the plan and the language in the

   2    proposed order is fine.         A separate stipulation, Mr. Glassman,

   3    if you can follow the language in the document that I --

   4                MR. GLASSMAN:      I will follow --

   5                THE COURT:     I think it'll probably work.             If Mr.

   6    Karotkin and you want to tweak it, that's fine too.

   7                MR. GLASSMAN:      Okay, but what I'm hearing, and this is

   8    the problem why I'm asking, this is exact -- this colloquy

   9    demonstrates exactly why I'm asking for the language because

  10    after all of the back and forth in the pleadings where it

  11    was -- we believed it was clear that our action was covered,

  12    and such, and it couldn't have been more clearer, now I hear

  13    Mr. Karotkin saying we're not so such.               So that's exactly the

  14    statement --

  15                MR. KAROTKIN:      That's not what I'm saying.

  16                THE COURT:     No, no, that's not what he's saying.

  17                MR. KAROTKIN:      That's not what I'm saying.

  18                THE COURT:     That's not what he's saying, Mr. Glassman.

  19                MR. KAROTKIN:      Please.

  20                THE COURT:     That's not fair.        It's not -- he's not

  21    saying that.     He saying he doesn't remember the specifics of

  22    the deal, but I remember the specifics of 10.13, that quite

  23    unequivocally carves out eminent domain.               So --

  24                MR. KAROTKIN:      And all I'm saying, Your Honor, is --

  25                THE COURT:     Yeah.

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   1                MR. KAROTKIN:      -- let me have an opportunity to look

   2    at the exact action he's talking about, speak to my client, and

   3    if it's within an eminent domain proceeding, it's not going to

   4    be an issue.

   5                THE COURT:     Yes.

   6                MR. KAROTKIN:      But on the fly, I'm entitled to look at

   7    that.

   8                THE COURT:     Okay.       Mr. Karotkin, you don't have to say

   9    it again.     I'm in your --

  10                MR. KAROTKIN:      Yeah.

  11                THE COURT:     -- camp on this one.

  12                MR. KAROTKIN:      Okay.

  13                THE COURT:     Mr. Glassman, I'm looking at 10.13, if I

  14    were a superior court judge in San Joaquin County, I think I

  15    could understand that I'm free to go forward without regard to

  16    the bankruptcy to decide on an eminent domain action, even

  17    though it doesn't mention it in the plan.               But in a separate

  18    order, it can name it by case number, and initials of the

  19    judge, if you like.

  20                MR. GLASSMAN:      Yeah.

  21                THE COURT:     Okay?

  22                MR. GLASSMAN:      Thank you, Your Honor.          I just want to

  23    say one more thing.        In addition to that language, there was

  24    also a specific indication in the reply papers that the eminent

  25    domain action, the actions -- the eminent domain action, our

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   1    action, and the LAFCo action, in their specific reply to our

   2    papers was not a claim that would be affected by discharge.                    So

   3    I really don't understand what the controversy is --

   4                THE COURT:     I know, but --

   5                MR. GLASSMAN:      -- but we'll submit that.

   6                THE COURT:     I'm satisfied.        I think your client is one

   7    hundred percent protected by 10.13 and the clarification that

   8    I'll grant it in an order, so I'm really not --

   9                MR. GLASSMAN:      Thank you, Your Honor.

  10                THE COURT:     Okay.

  11                MR. GLASSMAN:      That resolves it.

  12                THE COURT:     All right, thank you.          Thank you, Mr.

  13    Glassman.     I'll look for you to exchange with Mr. Karotkin on

  14    a -- he's got his hands full -- on a separate order.                   Okay.

  15                MR. GLASSMAN:      Thank you, Your Honor.

  16                THE COURT:     Thank you.

  17                Mr. Karotkin, can you go back and clarify something?

  18    Maybe I just didn't hear you exactly right.                There's been a

  19    final resolution of all the issues that were between the

  20    trust -- the trustee, and the, what we'll call the objectors,

  21    that's been resolved?

  22                MR. KAROTKIN:      Yes, and --

  23                THE COURT:     Okay.

  24                MR. KAROTKIN:      -- and the debtors and the plan

  25    proponents, as well.        All of those documents -- those two

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   1    agreements -- documents have been agreed to by all the parties.

   2                THE COURT:     Okay, now but Ms. Grassgreen, who also had

   3    an issue has raised her hand.            So --

   4                MR. KAROTKIN:      That's a different issue.

   5                THE COURT:     That's a different issue?           Okay.

   6                MR. KAROTKIN:      That's a different issue.

   7                THE COURT:     Ms. Grassgreen, we'll come back to you in

   8    a little while.       Well, I see -- yeah, okay.

   9                Mr. Molton has raised his hand.            Mr. Molton, since Mr.

  10    Karotkin was answering my question about that, let me have you

  11    come in because I considered -- this is a done deal also, if

  12    what he says is consistent with what you can confirm, Mr.

  13    Molton, and if Ms. Grassgreen, if she needs to be treated

  14    separately, I think she made it clear before, it doesn't have

  15    to hold up confirmation.

  16                So Mr. Molton, good morning or good afternoon.                Please

  17    state your appearance.

  18                MR. MOLTON:      Good afternoon, Your Honor.

  19                And I know Ms. Grassgreen wanted to confirm this as

  20    well when we heard Mr. Karotkin make the point.                 Yeah, there's

  21    one issue unresolved but it doesn't affect confirmation, it

  22    doesn't affect the finality of the agreements in substantial

  23    part, as Mr. Karotkin mentioned, with all the other objectors,

  24    and that's an issue that Your Honor heard about earlier this

  25    week from Ms. Grassgreen, and also Mr. Carlson.

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   1                And Your Honor had taken Ms. Grassgreen's point that

   2    it is not a confirmation issue, can be dealt with in a discrete

   3    manner next week, and I think Your Honor even made that point

   4    that Your Honor has a lot on his plate this week, and would

   5    hear it next week.        And we propose -- we've talked with Ms.

   6    Grassgreen -- Ms. Greengrass (sic), I'm sorry -- and Mr.

   7    Carlson --

   8                THE COURT:     Grassgreen -- no, Grassgreen.

   9                MR. MOLTON:      Yes.      I get it mixed up, I'm sorry to --

  10                THE COURT:     And she's -- I'm going to bring her into

  11    the room.     You can look to the --

  12                MR. MOLTON:      I'm sorry for that.

  13                THE COURT:     Yeah.

  14                MR. MOLTON:      But she -- I call her Debra; that

  15    works --

  16                THE COURT:     No, you can't call her Debra on duty here.

  17                MR. MOLTON:      I understand, Judge.         In any event, so

  18    we've been in discussions with her, Judge.                We hope to talk

  19    about her issues.       We're going to be working to discuss them

  20    with her, and hopefully not have them be in a position where we

  21    need to come and find you.

  22                THE COURT:     Okay.       Again, let me hold you for a

  23    minute.     Ms. Grassgreen has raised her hand.             Ms. Grassgreen,

  24    if you want to be heard, we'll bring you in now, but if -- you

  25    don't need to come in just to confirm what you just heard, so

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   1    I'll leave it to you.         If your hand is up, we'll bring you in.

   2                But Mr. Molton, while Ms. Grassgreen is either coming

   3    in or not coming in, can you confirm that the so-called "issue

   4    number 2" has been resolved then and --

   5                MR. MOLTON:      Yes, Your Honor.

   6                THE COURT:     Okay, great.       That's good news.        And

   7    again, do you understand, Mr. Karotkin, that that's something

   8    that -- my commitment to you was to ideally sign an order

   9    confirming the plan today, so that doesn't -- that can wait; is

  10    that correct, Mr. Karotkin?            You've got to unmute.        There you

  11    go.

  12                MR. KAROTKIN:      Yeah, I'm sorry.        I'm not sure I

  13    understand.     What can wait?

  14                THE COURT:     The resolution, or what we would call the

  15    trust issue number 2 and 1, I mean, the issues that were --

  16    excuse me, that Mr. MacConaghy, and Mr. Molton were working on.

  17                MR. KAROTKIN:      Those have been resolved.

  18                THE COURT:     I know.       Will they be incorporated into

  19    the OCP today?

  20                MR. KAROTKIN:      Yeah, to the extent that they're

  21    required to be incorporated, they are.

  22                THE COURT:     Okay.       Ms. Grassgreen, good afternoon.

  23                MS. GRASSGREEN:        Good afternoon, Your Honor.

  24                THE COURT:     Just state your appearance for the record

  25    please.

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   1                MS. GRASSGREEN:       Debra Grassgreen on my individual

   2    behalf and on behalf of my family, husband and my son.                   Your

   3    Honor can you hear me okay?

   4                THE COURT:     Yes.

   5                MS. GRASSGREEN:       Okay.

   6                THE COURT:     Yes.

   7                MS. GRASSGREEN:       Your Honor, I just -- I think what we

   8    had agreed with the TCC and counsel for the trustee is that we

   9    would submit a joint statement next week once the final

  10    documents landed.       We didn't -- the documents were a moving

  11    target, and we would just ask Your Honor today for some time

  12    next week, so that you could resolve it at your convenience

  13    next week.

  14                So I thought it just made sense while we were here,

  15    all of us, to try to work out the scheduling matter.                   If you'd

  16    prefer that we do it offline with your clerk, we can do that as

  17    well.

  18                THE COURT:     We have a PG&E calendar next Wednesday,

  19    unless -- and if everything goes away, it's there.                  We also

  20    have a PG&E calendar on the 30th.             So those are already

  21    designated days.       I can accommodate you on either of those

  22    days, and if necessary, I'll do it separately.                 I may not treat

  23    you to a Zoom treatment if it's a very discrete question, but

  24    those dates are both available, and you can just let my

  25    courtroom deputy know if you want to get onto have those

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   1    considered.

   2                MS. GRASSGREEN:        Thank you very much, Your Honor.

   3                THE COURT:     All right.       So, Ms. --

   4                MR. MOLTON:      Thank you, Judge.

   5                THE COURT:     All right, thank you.          And Mr. Molton, for

   6    you, and if Mr. MacConaghy and others are hearing, I want to --

   7    and all the lawyers who are representing the various fire

   8    victims, the institutional fire victims, I want to congratulate

   9    you for getting that resolved.            I appreciate that happening.

  10    Okay.

  11                MR. MOLTON:      Thank you, Judge.        There was a lot of

  12    hard work that went on the last few days to get there.

  13                THE COURT:     That's why you get the big bucks, right?

  14    Okay.    I'm going to take both of you out of the room now.

  15                Mr. Karotkin, I'm willing to go to the securities

  16    question now unless you want to deal with the committee or OCC

  17    issue, it's up to you.

  18                MR. KAROTKIN:      Why don't you go to the committee's

  19    issues, if you don't mind?

  20                THE COURT:     Okay.       Ms. Parada, please bring in Mr.

  21    Etkin and Mr. Johnson, I guess.

  22                Good afternoon, Mr. Etkin.

  23                MR. ETKIN:     Good afternoon, Your Honor.

  24                THE COURT:     State your appearance please.             I need your

  25    name for the record.

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   1                MR. ETKIN:     Of course.       I'm sorry, Your Honor.

   2    Michael Etkin, Lowenstein Sandler for the Public Employees

   3    Retirement Association of New Mexico.

   4                THE COURT:     Good afternoon.

   5                Mr. Johnston, are you with us?

   6                MR. JOHNSTON:      Good afternoon, Your Honor.

   7                Jim Johnston of Jones Day on behalf of the shareholder

   8    proponents.

   9                THE COURT:     Well, you gentlemen fooled me.             I turned

  10    you loose with our mystery, surprise super mediator, and you

  11    settled one thing, but not the thing I thought you'd settle,

  12    and didn't settle the other thing, so -- but congratulations to

  13    you for getting that resolved.

  14                Do I understand from your filings, you're tossing up

  15    the open issue for me to decide, right?

  16                MR. ETKIN:     That's correct, Your Honor.              We agreed

  17    that with respect to the one discrete issue that remains, that

  18    we would submit it to the Court for a decision based upon the

  19    papers that are already before the Court --

  20                THE COURT:     Okay.

  21                MR. ETKIN:     -- and the prior arguments.

  22                THE COURT:     Mr. Johnston, do you concur with that?

  23                MR. JOHNSTON:      I concur with that, Your Honor.

  24                THE COURT:     Okay.       Those of you who know me know I

  25    love hypotheticals, so I'm going to tell you my ruling, and

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   1    when you tell me how to answer the following hypothetical.                      And

   2    let's keep in mind something that Mr. Karotkin likes to remind

   3    me, that 1124 isn't cited in Section 365, but I'm a fan of

   4    1124, and I know the distinction, and you do, between how you

   5    figure out a claim on the one hand and how you treat a class of

   6    claims on the other.        And what's critical for my thinking here

   7    is, as I said in my memorandum and having been said in the

   8    prior discussions, that -- or maybe I didn't say it in the

   9    memorandum and decision because you convinced me to take it

  10    out, but one of the open issues is how do we evaluate the claim

  11    of any particular claimant before we know the way the

  12    treatment?

  13                So here we are; I'm going to do it in a hypothetical.

  14    I'm going to assume that one fraud claimant under the

  15    securities laws has gotten to a point where his or her claim

  16    has been liquidated, and I'm fixing it at 1,000 dollars.                      And

  17    let's assume as a result of the formula, that you've agreed to

  18    the issue that you mediated -- and again I'm happy that you

  19    had; I had my own resolution of it, but you've taken that off

  20    the table, but let's assume as a result of that formula,

  21    that -- and without regard to any insurance, that claimant

  22    would get a hundred shares of the company.                And again, you can

  23    quarrel with my math, it's hypothetical, but suddenly a 1,000-

  24    dollar claim becomes 100 shares.             And so the question is if the

  25    plan becomes effective, and the stock is issued, and that

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   1    claimant is given his or her hundred shares, the claim has been

   2    satisfied, end of story.

   3                And so the question is -- and under Ivanhoe, that was

   4    all that claim was determined to be worth, and it's been paid

   5    in full, and if it were not a 510(b) conversion under this

   6    plan, the claimant would get 1,000 dollars, but under this

   7    treatment for 510(b), the claimant would get 100 shares --

   8    excuse me, 100 shares.

   9                So the question then is, well, what do we do -- and to

  10    me, that's faithful to Ivanhoe.             Ivanhoe says you've got to get

  11    the guy paid in full.         Now suppose before there's a conversion

  12    of the stock, the insurers -- the insurance company pays the

  13    claimant 200 dollars, and the claimant accepts 200 dollars.

  14    Now under Ivanhoe, you still have to treat the claim as 1,000

  15    but you can't recover more than 1,000.               So in fact, that

  16    claimant, although still having a claim for 1,000 dollars, is

  17    only entitled to 800 dollars, or eighty shares in my

  18    calculation.

  19                So if our hypothetical claimant's claim was fixed at

  20    1,000, and then the conversion said that gets you 100 shares,

  21    sir, and he got no money, he'd get 100 shares.                 If he already

  22    got 200 dollars, he'd get 800 shares or excuse me, 80 shares,

  23    and it's that simple.

  24                And so -- and the reason why Ivanhoe in theory works

  25    is because Ivanhoe is a principle of law that says tortfeasors

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   1    don't get off the hook until their victims are paid in full.

   2    But Ivanhoe didn't deal with a solvent company converting money

   3    to shares.     And so if this plan becomes effective and the

   4    claimant gets his hundred shares, there's nothing left to pay

   5    him, and if he got paid some money before that, he can't get

   6    the full payment of the money because he got -- excuse me, of

   7    the shares, because he got the money, it's that simple.

   8                So I'm going to tell you that this convinces me that

   9    you have to go back in time -- well, excuse me, you have to get

  10    to a point where each claimants' claim is liquidated, and if

  11    that claimant got any money from an insurance company along the

  12    way, then it takes a lesser amount of shares having converted

  13    from dollars to pay him in full.             More likely than not, it

  14    won't happen, and it will become a nonissue because my guess is

  15    that, unless there's some insurance payments earlier on the --

  16    the conversion formula will be in place, and all you have to do

  17    is to determine what an individual claimant's claim is worth.

  18                And so that convinces to me that the company, the

  19    shareholder -- excuse me, the proponents, have the better

  20    argument here, and you don't reduce the amount a claimant gets

  21    in an artificial way if you know that it can never get paid

  22    more than he's entitled to.

  23                So I said it was a hypothetical, and it's really more

  24    my thinking, but that's my hypothetical.               So Mr. Etkin, if my

  25    hypothetical claimant had a 1,000-dollar claim, and the

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   1    conversion was ten shares -- excuse me, a hundred shares, I

   2    don't know why you ever get to any other result, and he gets to

   3    keep whatever money comes out first.              After that, he's paid in

   4    full in shares.

   5                MR. ETKIN:     Your Honor, I -- apologies in advance, but

   6    I think that that assumes that by virtue of the conversion

   7    formula that we've agreed to, that an individual claimant in

   8    class 10A-II would be paid in full in connection with whatever

   9    they're allowed claim is, but to convert --

  10                THE COURT:     But that's what they're entitled to.               In

  11    other words, that's what they're entitled to.                 If they were

  12    getting dollars, they would be paid in dollars in full, and --

  13                MR. ETKIN:     But the problem --

  14                THE COURT:     -- they would get, they'd be entitled to

  15    whatever the adjudication of their particular claim determines.

  16                MR. ETKIN:     It's not just a function of the amount of

  17    their claim; it's a function of what the distribution under the

  18    plan produces in terms of satisfaction of that claim.

  19                THE COURT:     No, I don't agree with you.

  20                MR. ETKIN:     So your --

  21                THE COURT:     See, the reasons I don't agree with you --

  22                MR. ETKIN:     Your hypothetical -- I'm sorry.

  23                THE COURT:     -- because you have to determine how much

  24    the claim's claim is, and then you just plug in the formula

  25    and -- as of the -- it has to be as of the effective date

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   1    conversion formula, the diluted stock.

   2                MR. ETKIN:     That's right.        That's right.       So at the

   3    end of the day, if a claimant has a claim for 1,000 dollars,

   4    once you apply the conversion formula, that claim won't be paid

   5    1,000 dollars' worth of stock, as things currently stand with

   6    respect to the formula that's been agreed upon.                 And that's by

   7    virtue of the fact that these are subordinated claims, and not

   8    entitled and required to be paid in full; that's why they're

   9    impaired under the plan as opposed to unimpaired classes.

  10                Our position, Your Honor, is that we agree with the

  11    Court, and consistent with Ivanhoe, that a particular claimant

  12    can't receive more than a hundred percent of the amount of

  13    their claim.     That's clearly what Ivanhoe provides.                But --

  14                THE COURT:     Okay, but Mr. Etkin, what would happen if

  15    one of those claimants settled through an insurance company

  16    today and he got paid 200 dollars?             What do we do with his

  17    claim?

  18                MR. ETKIN:     Well, it's --

  19                THE COURT:     Under Ivanhoe --

  20                MR. ETKIN:     It's the settle --

  21                THE COURT:     Under Ivanhoe, we don't reduce his claim,

  22    but under Ivanhoe, we don't pay him more than a hundred cents

  23    on the dollar either.

  24                MR. ETKIN:     Well, that's correct.          And if there was a

  25    settlement, Your Honor, with respect to -- let's take the

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   1    directors and officers, for example, based upon the claims, not

   2    against the company but against the particular directors and

   3    officers, then that amount of money would have to be applied

   4    once the claim against the company was liquidated, as you put

   5    it, to determine whether the settlement amount, plus whatever

   6    is received from the company, exceeds a hundred percent of the

   7    allowed claim which was determined in connection with the

   8    bankruptcy case because there was no opportunity, in the face

   9    of a settlement, to determine what the amount of the claim is,

  10    for purposes of the actual damages or loss, because a

  11    settlement is exactly that, just a settlement.

  12                So you don't ignore the fact that there's been

  13    insurance paid, but it doesn't come off the top.                    It's only

  14    there to determine that, at the end of the day, when you factor

  15    in that insurance payment, that the claimant, in connection

  16    with its liquidated claim against the company, does not get in

  17    excess of what that claim comes out to be from a loss or

  18    damages or allowance perspective.

  19                So I almost think, Your Honor, that we're saying the

  20    same thing, in terms of having to take the insurance into

  21    account, but not for purposes of just lopping it off -- let me

  22    give --

  23                THE COURT:     But Mr. Etkin -- Mr. Etkin --

  24                MR. ETKIN:     Let me give you the example you --

  25                THE COURT:     Mr. Etkin, what would happen, under

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   1    Ivanhoe, if this was a cash payment, if it wasn't a conversion,

   2    and my claimant got 200 dollars?             He'd have a claim for 1,000,

   3    but he could only recover 800.

   4                MR. ETKIN:     That's right, Your Honor.

   5                THE COURT:     He couldn't recover more than 1,000.                So

   6    if he accepts 200 dollars from the insurance company, his

   7    maximum recovery from the debtor is 800 dollars.                    And to me, we

   8    don't have the luxury today of knowing what every individual

   9    claimant's stock on a conversion fund is worth.                 We have to do

  10    this in reverse.       And chances are the particular claimant's

  11    amount will be liquidated long after the conversion is in place

  12    and the real value.        But that's the breaks.

  13                This gets back to why this is a treatment of a class

  14    problem not a payment of a claim problem.               And if you have a

  15    claim out there that somebody suffered a million dollars, then

  16    that million-dollar claimant will get a lot more stock.                    And if

  17    he takes some money from an insurance company along the way,

  18    that's his choice.

  19                MR. ETKIN:     And he can't recover more than a hundred

  20    percent of his claim.

  21                THE COURT:     Just putting some more zeros on my

  22    hypothetical, my --

  23                MR. ETKIN:     But let me -- but let --

  24                THE COURT:     -- claimant is owed a million dollars and

  25    he gets 200,000 from the insurance company.                He's got --

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   1                MR. ETKIN:     But for example -- let me give you another

   2    hypothetical, Your Honor.          Let's say that a claimant -- under

   3    the plan proponent's formula, if a claimant got 200 dollars

   4    from insurance already, and this of course ignores the fact

   5    that at the time the claim is liquidated against the company

   6    there may not have been any insurance payment.                 We don't know

   7    what the insurance payment was before.               So timing becomes

   8    important, and that's what we also tried to point out in the

   9    pleading we filed early this morning.

  10                But if the claimant has gotten 200 dollars' worth of

  11    insurance, and let's say they have an allowed claim of 1,000

  12    dollars, based upon a determination on the merits as to what

  13    the value of that claim should be.

  14                THE COURT:     Right.

  15                MR. ETKIN:     And let's say, which is the facts in this

  16    case, that at the end of the day, that claimant, when you apply

  17    the formula, is getting stock that's worth less than 800

  18    dollars on a 1,000-dollar claim.

  19                THE COURT:     But how can that be?

  20                MR. ETKIN:     Well, because the conversion formula, Your

  21    Honor -- very easily.

  22                THE COURT:     But it --

  23                MR. ETKIN:     The conversion formula --

  24                THE COURT:     But it's a compromise.          That's why you

  25    compromised it.       Mr. Etkin, that's why you compromised it, and

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   1    you did the right thing because, if you didn't compromise it

   2    and I had gone with Mr. Johnston's theory, you know what the

   3    formula would be.       And if I'd gone with your theory, he knows

   4    what the formula would be.             You compromised the formula, you

   5    compromised the treatment methodology without giving up the

   6    right of a particular claim to be stand -- its claim is what it

   7    is.

   8                MR. ETKIN:     No, we didn't compromise the treatment

   9    methodology, Your Honor.          We compromised the formula for

  10    converting a dollar claim into a claim for shares.

  11                THE COURT:     Well, I think that's a treatment --

  12                MR. ETKIN:     Under anyone's formula, Your Honor, at the

  13    end of the day, if you're multiplying the claim amount by a

  14    particular number, it's going to come out to less than payment

  15    in full in terms of the value of the stock.                 And the point I'm

  16    trying --

  17                THE COURT:     I need you -- let's see what Mr. Johnston

  18    says.    He might think I'm crazy too.             But --

  19                MR. ETKIN:     Well, I don't think you're crazy, Your

  20    Honor, by any stretch of the imagination.

  21                THE COURT:     Mr. Johnston --

  22                MR. ETKIN:     The only thing that I -- I happen to think

  23    that we're saying the same thing but coming out at a different

  24    place, and the primary reason for that is that the assumption

  25    in your hypothetical is that whatever number of shares that a

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   1    particular claimant gets at the end of the day, from a value

   2    perspective, will amount to a hundred percent of the claim

   3    amount.    And that's just simply not going to happen.                  And if

   4    that doesn't happen, and if you just assume that that doesn't

   5    happen, then taking the insurance off the top is just further

   6    diluting the claim if by virtue of the distribution to that

   7    claimant through the bankruptcy case, in shares, is not going

   8    to pay that claimant in full.

   9                THE COURT:      Okay.       Let's see what Mr. Johnston says,

  10    because if I've screwed up the formula, I'll withdraw it.

  11                But Mr. Johnston?

  12                MR. JOHNSTON:       Your Honor, under your hypothetical,

  13    you got it exactly right.           The plan formula would deliver

  14    eighty shares to your hypothetical claimant.                 And so we clearly

  15    think that is the appropriate result.               I can go into all of the

  16    reasons why but --

  17                THE COURT:      Well, Mr. Johnston --

  18                MR. JOHNSTON:       -- Your Honor is exactly right.

  19                THE COURT:      -- instead of saying it's right, tell me

  20    whether the methodology is right.              In other words, if we knew

  21    today that a claimant's claim was 1,000 dollars, under a

  22    conversion formula that you negotiated, the 1,000 is

  23    hypothetical.        It is what it is based upon the different days

  24    that you put into your settlement, right?

  25                MR. JOHNSTON:       That's correct.

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   1                THE COURT:      You have four different -- you had one

   2    date in October of 2017.           Mr. Etkin had one day two weeks after

   3    the Camp Fire.        You compromised in, as I read it, four

   4    different milestones because the circumstances changed for

   5    different investors at different times with different knowledge

   6    of the market.

   7                MR. JOHNSTON:       That's exactly what we did.

   8                THE COURT:      Yeah.       Mr. Etkin, I'm going to stick with

   9    my ruling, to the extent it was a ruling.                If you think you and

  10    I are saying the same thing, you haven't persuaded me that I

  11    should change the result.           So how would you articulate the

  12    ruling, if you were in my position, given what you've just

  13    said, that we are saying the same thing?

  14                MR. ETKIN:      We are saying the same thing, but the plan

  15    proponent's definition of insurance deduction doesn't lead to

  16    that result.     It --

  17                THE COURT:      Well, but I have to tell you, here's what

  18    is different.        See, I really didn't think you were going to

  19    settle this issue.         I thought you were going to settle the

  20    other issue and not leave for me what you left for me.                    And so

  21    I started to think about it, and I had in my mind and literally

  22    had drafted how I was going to figure out what I thought was a

  23    fair outcome.        Based upon the Etkin theory, originally it was

  24    petition date, and the Johnston theory, initially, and probably

  25    still is, October 12th, 2017.

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   1                And I had tentatively come to a conclusion on how I

   2    was going to resolve that.             But you folks resolved it, and

   3    therefore I'm not going there.             So you left me the way to make

   4    it implemented, and this is the way I believe I have to do it

   5    because, to me -- I'll tell you what I'm saying.                     It's almost

   6    that Ivanhoe dealt with dollars for dollars, and 510(b), in my

   7    research, said -- I think that Superior case from Texas was the

   8    only case that even comes close -- Superior Refinery, or

   9    whatever it was.       And that one kicked the can.             It didn't solve

  10    the problem; it just said -- the Court said, well, they didn't

  11    figure out the solution here, but that's okay, we can still

  12    confirm the plan.

  13                Here we had to figure out a solution, and you and your

  14    clients did the right thing, in my mind, by coming up with a

  15    compromise of how you do it based upon the real world, that

  16    several times, over the span of October 2017 to November of

  17    2018, and the market going from seventy to whatever -- eight or

  18    whatever it was.

  19                And so I just couldn't take the Ivanhoe formula and

  20    apply it knowing that, A, first of all, there maybe never will

  21    be insurance payments.         Secondly, if a claimant wants to accept

  22    an insurance settlement in some amount, they can do it.                     They

  23    won't get it in stock; they'll get it in dollars.                    And

  24    consistent with the concept of Ivanhoe, they can't get

  25    overpaid.

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   1                So anyway, look, Mr. Etkin, I had to decide it one way

   2    or the other.        This was my thinking.         I'm going to assume that

   3    this can be done in some sort of a stipulate -- if not

   4    stipulated at least an adjudicated order.                I don't think

   5    it's -- from what you said before, Mr. Etkin, it's not a

   6    confirmation issue, per se.             And you made it clear before that

   7    you weren't trying to oppose confirmation, so I expect to be

   8    able to -- even if you're unhappy with this outcome that the

   9    confirmation order can stand without being challenged.

  10                But again, Mr. Johnston, how would you like to

  11    implement this?

  12                MR. JOHNSTON:       Well, Your Honor, we have implemented

  13    this by putting in to the amended plan, or the draft amended

  14    plan that was filed shortly before the hearing and the draft

  15    amended confirmation order which was filed at the same time,

  16    the language that we appended to Exhibit A to the pleading we

  17    put in yesterday.        So in our mind, the resolution of the

  18    objection is contained in that amended language.

  19                THE COURT:      Okay.       Well, let me tell you that I think

  20    what you filed this morning -- oh, no, I see -- whenever you

  21    filed it; things are moving very quickly.                And as I said, I was

  22    surprised, I was happy to hear that you had a resolution, but I

  23    was surprised that you resolved the thing I didn't expect you

  24    to resolve.     So I had to do a little quick thinking to be able

  25    to come up with my response here today.                And therefore I'll

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   1    leave it to you to implement it in a way that you think is

   2    appropriate.

   3                MR. ETKIN:     Well --

   4                MR. JOHNSTON:      Thank you, Your Honor.

   5                MR. ETKIN:     -- Your Honor, there is -- if I may?

   6                THE COURT:     Yes, sir.

   7                MR. ETKIN:     There is one other aspect of this that we

   8    did raise in what we filed this morning that came up only

   9    because of the new language that was drafted by the plan

  10    proponents.     And that's the definition of Side A policy, that

  11    they've come up with and incorporated into the plan, that we

  12    also had a problem with.          And I'll make it very simple, Your

  13    Honor.

  14                THE COURT:     I wasn't even able to look at what you

  15    filed this morning.        I thought I looked at everything that came

  16    in from everybody, but I didn't get that one, so --

  17                MR. ETKIN:     Well, that's a shame, Your Honor, because

  18    it obviously touched upon the issue that we just spent the last

  19    twenty or so minutes talking about.

  20                But the other issue is the issue of the definition

  21    that the plan proponents have provided for Side A policy.                     And

  22    our position was very simple with respect to that.                  Our

  23    position was that Side A policy and what it means is set forth

  24    specifically in the insurance policy itself.                It can't be

  25    redefined through a separate provision in the plan.

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   1                And in fact there's a provision in the plan regarding

   2    insurance policies that says -- and it's 8.7 of the plan --

   3    that say that those policies have been assumed and the terms of

   4    those plans apply, and the terms of those plans are what they

   5    are.     And we agree with that.         We agree with the plan language.

   6    And we don't agree with any attempt to rejigger that language

   7    through a separate definitional section that the plan

   8    proponents have come up with for purposes of the plan.

   9                THE COURT:     Mr. Etkin, let me correct one-half of what

  10    I said.     I was aware that you filed a notice of withdrawal.

  11    And when I looked at the notice of withdrawal that you did file

  12    at about 5 o'clock this morning -- I wasn't up reading it -- I

  13    noticed that there was some language and reference to the

  14    language of the policies, and I just set it aside.                  I had

  15    plenty of other things to do, including another calendar on

  16    another matter this morning.

  17                So Mr. Johnston, can we not pick this up later?                   This

  18    doesn't have to be --

  19                MR. JOHNSTON:      Well, Your Honor, this is part of the

  20    plan.     This goes into the plan formula.            The definition of Side

  21    A is an accurate recitation of what the Side A policy says.

  22    The PERA responses yesterday or this morning said we should

  23    refer to the definition of Side A coverage in the policy.

  24    There is no definition of Side A coverage in the policy.                      And

  25    if you look at what they cited you to, you will see that.                      The

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   1    provision of the policy they cited to is the actual operating

   2    coverage language for Side A.             So the language we put forward,

   3    which they haven't objected to in any substantive way, is what

   4    Side A says, and we believe that it's appropriate.

   5                 THE COURT:     Well, I'm not going to -- look, Mr. Etkin

   6    shouldn't be punished for compromising something and then

   7    having me, twelve hours later, giving him a bad result on a

   8    ruling that I made that he'd offered to submit to me and then

   9    say, well, I'm sorry, I haven't had a chance even to look at

  10    this.

  11                 I'm going to run the risk here that I can sign an

  12    order confirming the plan as effective and there can be some

  13    subsequent agreement of clarification on how these formulas

  14    should work, I think.          I mean, I don't want to delay confirming

  15    the plan, but I'm not going to run the brush out over Mr.

  16    Etkin's client's rights, particularly when he withdrew his

  17    objection.

  18                 So I'd like you to come up with a way to let this ship

  19    leave the dock with the Court confirming the plan but, if

  20    necessary, let me try to clarify something, if there's a reason

  21    to.      I don't know; you may be right, Mr. Johnston.               And clearly

  22    you can't create something that isn't consistent with the

  23    operative documents.         But I just haven't had a moment to think

  24    about it.

  25                 MR. KAROTKIN:      Your Honor?

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   1                THE COURT:     Yes.

   2                MR. KAROTKIN:      I'll try to address it.          In order to

   3    confirm the plan, you have to make the findings under

   4    1129(a) --

   5                THE COURT:     Right.

   6                MR. KAROTKIN:      -- or 1129(b).

   7                THE COURT:     Which I did.

   8                MR. KAROTKIN:      Not with respect to this particular

   9    class because they voted to reject the plan.

  10                THE COURT:     Well, but I can --

  11                MR. KAROTKIN:      I don't --

  12                THE COURT:     -- make an oral ruling that the plan

  13    treats the equitably and fairly, I mean, consistent with

  14    1129(a) and (b), fair and equitable.

  15                MR. KAROTKIN:      You can make that determination based

  16    on the proposed treatment that will be set forth in the plan,

  17    as Mr. Johnston indicated.

  18                THE COURT:     I know.

  19                MR. KAROTKIN:      But I don't --

  20                THE COURT:     I tried --

  21                MR. KAROTKIN:      I don't know how else to address it and

  22    enter a confirmation order.            Let me try to make a suggestion,

  23    Your Honor, because I agree with the fact that we agreed to

  24    submit this issue, this discrete issue, regarding the insurance

  25    deduction.

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   1                THE COURT:     Right.

   2                MR. KAROTKIN:      That's it.       That's all that's --

   3                THE COURT:     Right.

   4                MR. KAROTKIN:      That's all that's sitting out there.

   5    Not the formula; that's done.            It's just a function of how you

   6    treat receipt of insurance proceeds.

   7                THE COURT:     Right.

   8                MR. KAROTKIN:      This plan is not going to rise or fall

   9    with respect to a determination of that issue, especially when

  10    the parties have agreed to submit it to Your Honor.                   And I

  11    think it's a little unfair to the Court to indicate that, in

  12    the wake of that, that you can't confirm the plan without

  13    getting this discrete issue resolved when I think that that has

  14    not been the assumption that has been made.

  15                But leaving that aside, I believe that the Court can

  16    confirm the plan.       We've withdrawn our objection as it relates

  17    to cramdown.     That was the deal that we made, and we're

  18    standing by that deal.         So you no longer have an objection with

  19    respect to cramdown as to the only nonconsenting class.                   So the

  20    plan can in fact be confirmed.            And to push the Court to render

  21    a decision on that discrete issue, in the guise of you not

  22    being able to confirm this plan without it, I just don't think

  23    that that's appropriate, I don't think it's true, and I don't

  24    think it's fair.

  25                The Court will decide what the appropriate insurance

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   1    deduction is.        Whatever happens there, we'll deal with that,

   2    one way or another, but that's certainly not a condition to

   3    confirmation that I've seen.             And in keeping with the Court's

   4    desire to give everybody their fair chance, while at the same

   5    time making sure that January 30th is dealt with --

   6                THE COURT:      June 30th.

   7                MR. KAROTKIN:       June 30th, rather, is dealt with, you

   8    know, I don't see any conflict there with what the Court has

   9    suggested in getting all of that done.

  10                MR. JOHNSTON:       Your Honor, Jim Johnston again.             First

  11    of all, I thought you did decide the insurance deduction issue.

  12    That's not an issue to be punted.              That is part and parcel of

  13    the treatment of these claims and part and parcel of the plan.

  14    I thought we were talking about the discrete definition of Side

  15    A policy that we proposed and that is now incorporated in the

  16    plan.    That's not a surprise.           That simply embodies the

  17    concession I made to Your Honor last time we argued this, a

  18    week or so ago, probably more than a week ago.                  So this is not

  19    an issue to be kicked down the road any further.                     This is a

  20    confirmation issue that involves the treatment of Class 10A-II.

  21    The insurance deduction is part and parcel of that treatment,

  22    and I don't see how it can be set aside.

  23                THE COURT:      Mr. Johnston, I've got a million things on

  24    my table here.        Where do I look at the language?               Is it in the

  25    supplement to the plan?          Where is this?

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   1                MR. JOHNSTON:      Do you have what we filed last night?

   2                THE COURT:     I think so.

   3                MR. JOHNSTON:      I can point you specifically to it.

   4                THE COURT:     Document 8016?

   5                MR. JOHNSTON:      Yes.

   6                THE COURT:     Okay.       I do.

   7                MR. JOHNSTON:      If you look at Exhibit A to that

   8    document, I think it's on about the fifth page of the document.

   9                THE COURT:     I've got it.        I mean, I --

  10                MR. JOHNSTON:      It's three-quarters of --

  11                THE COURT:     That just --

  12                MR. JOHNSTON:      Three-quarters of the way down, you see

  13    the definition of Side A policy?

  14                THE COURT:     I see the new definition disputed by PERA,

  15    insurance deduction.

  16                MR. JOHNSTON:      And then below that.

  17                THE COURT:     The next one, okay, Side A policy.

  18                MR. JOHNSTON:      Yes.

  19                THE COURT:     Okay, yes.

  20                MR. JOHNSTON:      That's what we're talking about.

  21                THE COURT:     Well, but does it identify a particular

  22    policy or group of policies?

  23                MR. JOHNSTON:      Well --

  24                THE COURT:     In other words, it's a very fancy title,

  25    but it doesn't name specifically what operates.

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   1                MR. JOHNSTON:      No, clearly the language does not

   2    identify a specific policy or group of policies.

   3                THE COURT:     Okay.       Mr. Etkin, what is wrong with the

   4    definition that is identified?            And I have it right in front of

   5    me, so what do you find troublesome about the definition?                     It

   6    does cover the universe, doesn't it, of what we've generally

   7    been calling the Side A policies throughout this case?

   8                MR. ETKIN:     Well, Your Honor, if you look at footnote

   9    2 of our submission, which is on page --

  10                THE COURT:     Yes.

  11                MR. ETKIN:     And we did attach the policy.

  12                THE COURT:     I've got it.

  13                MR. ETKIN:     We attached --

  14                THE COURT:     I've got it.

  15                MR. ETKIN:     We did attached the primary policy for the

  16    Court's convenience.

  17                THE COURT:     I know, but I couldn't look at those.

  18                MR. ETKIN:     I understand.        I understand.       But in our

  19    footnote 2, which is on page 3 of 59, we identify the

  20    provisions of the actual policy that define what Side A

  21    coverage is.     And the policy governs.           Whatever the language of

  22    the policy is, as it relates to the applicability of Side A

  23    coverage, when it kicks in, when it doesn't kick in, and the

  24    terms with respect to the availability of that coverage, that's

  25    defined by the policy.

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   1                And if we then take a look, Your Honor, at Section 8.7

   2    of the plan, it says that "all insurance policies, including

   3    all D&O liability insurance policies", et cetera, "to which any

   4    debtor is a party, as of the effective date, shall be deemed to

   5    be and treated as executory contracts and shall be assumed by

   6    the applicable debtors or reorganized debtors and shall

   7    continue in full force and effect thereafter in accordance with

   8    their respective terms".

   9                So Your Honor, the language that they provided in

  10    their definition of Side A policy, which is the same thing as

  11    Side A coverage -- there isn't a separate Side A insurance

  12    policy; it's Side A coverage under the D&O insurance policy --

  13    that says what it says and provides what it provides.                   And an

  14    attempt to wordsmith it or indicate how and when it pops into

  15    effect is inappropriate where the policy has been assumed and

  16    the terms and conditions of that policy are what they are,

  17    including what Side A coverage is, which is contrary to what

  18    Mr. Johnston indicated, which is set forth specifically in

  19    those provisions that we reference in our footnote 2.

  20                THE COURT:     My problem is that I can't --

  21                MR. JOHNSTON:      Your Honor, I don't --

  22                THE COURT:     I mean, you can only assume what you can

  23    assume, and so why is the definition different from what is

  24    actually being assumed, Mr. Johnston?

  25                MR. JOHNSTON:      It's not, Your Honor.          This is a

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   1    description of that coverage.            And I have not heard from Mr.

   2    Etkin a single word in that definition that's inaccurate.

   3                THE COURT:     Well, why can't we incorporate his

   4    footnote 2 into your new definition?

   5                MR. JOHNSTON:      Well, his footnote 2 refers to one

   6    policy, and it says that we're supposed to incorporate the

   7    definition of that coverage when there is no definition.                      What

   8    he is citing you to is an operative provision of an insurance

   9    policy that describes coverage, not a definition.

  10                MR. ETKIN:     That's what Side A coverage is, Your

  11    Honor.

  12                THE COURT:     Is this really --

  13                MR. ETKIN:     So why can't it be -- why can't the

  14    language be, or why can't you add to that language, "consistent

  15    with the terms and conditions of the relevant policies"?

  16                THE COURT:     It --

  17                MR. ETKIN:     Or is Mr. Johnston afraid of that?             I

  18    don't know.

  19                THE COURT:     Well, Mr. Johnston, is it --

  20                MR. JOHNSTON:      We can add that language if it makes

  21    this issue go away.

  22                THE COURT:     Well, let's agree that you shouldn't be

  23    importing into a definition something that doesn't exist out

  24    there in a policy.        And if there's a policy out there that

  25    covers something that isn't operative within the scope of 8.7

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   1    then you shouldn't be adding it.             And so, in effect, Mr.

   2    Johnston, if you're conceding that a Side A policy means all

   3    the policies that have things that are generally known as Side

   4    A in the trade, then that's what we're describing.                  It's

   5    consistent.

   6                MR. JOHNSTON:      That's what we're describing, Your

   7    Honor, yes.

   8                THE COURT:     Then go with the add-on that Mr. Etkin

   9    suggested.

  10                MR. JOHNSTON:      Okay.     We can make that change.

  11                THE COURT:     Give him the words.         Mr. Etkin, listen to

  12    what the words are going to read again.               Say it again, please,

  13    Mr. Johnston?

  14                MR. JOHNSTON:      I think the proposal was to add at the

  15    end a comma, "consistent with the terms and conditions of the

  16    applicable policy".

  17                THE COURT:     I think that's about what you said, Mr.

  18    Etkin.

  19                MR. ETKIN:     I think that's about what I said, Your

  20    Honor.

  21                THE COURT:     I still have a sense that this is angels

  22    on a pin, to some extent, because it's hard for me to imagine

  23    that this is ever really going to make a difference because the

  24    company is going to indemnify all of its officers and directors

  25    anyway.    But I'll leave that for another day.

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   1                 Thank you for resolving two of the issues out of

   2    three, leaving me the third one.

   3                 I'm sorry, Mr. Etkin, if I came out the wrong side on

   4    your end, but I appreciate your efforts and what you've done.

   5    And so I'm going to consider this a closed issue and

   6    congratulate you and Mr. Johnston and your clients and Judge

   7    Newsome for helping us get this one under the wraps too, or --

   8                 MR. KAROTKIN:      Your Honor, so --

   9                 THE COURT:     -- solve the problems.

  10                 MR. KAROTKIN:      So --

  11                 MR. JOHNSTON:      Thank you, Your Honor.

  12                 MR. KAROTKIN:      So things are absolutely clear, the

  13    plan has been modified to include this provision for the

  14    treatment of the HoldCo rescission and damage claims.                    We will

  15    modify the definition of the Side A in the plan to reflect

  16    that.      And that will be the proposed treatment in the plan.

  17    And consistent with that, and I believe consistent with what's

  18    happened today, there will be an order paragraph, in the

  19    proposed order, that says that the treatment of that class, in

  20    so many words, complies with 1129(b).

  21                 THE COURT:     Well, I'll say it again -- Mr. Etkin said

  22    it.      He conceded the point because he agreed to it.                And so the

  23    oral record, the order, and my memorandum decision in effect

  24    said it already, that -- this gets back to treatment.                    Again,

  25    it's relevant to the issue of I'm not determining the amount of

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   1    any particular claimant's claim.             I'm approving as fair and

   2    equitable, and satisfying 1129(b) cram down, the treatment of

   3    this class, fair and equitably, nondiscriminatorily, consistent

   4    with everything that we've talked about completing.                   Okay?

   5                MR. ETKIN:     Your Honor, just one last housekeeping

   6    thing?

   7                THE COURT:     Yes, sir.

   8                MR. ETKIN:     The revised proposed order and plan were

   9    filed minutes before this hearing began.               And we would just

  10    like the opportunity to be able to take a look at it.

  11                THE COURT:     Well, you have an opportunity.             Mr. Etkin,

  12    I have to trust counsel, principal counsel, and I do trust

  13    them.    I trust all the counsel in this case, but if something

  14    goes awry, and I sign an order confirming a plan today, and

  15    tomorrow or the next day it comes to light that somebody either

  16    intentionally or unintentionally mixed up and acted

  17    inconsistently, I have the ability to modify those things on a

  18    proper record.       I'm hoping it won't happen.

  19                So everybody's been moving quickly.              And I committed

  20    to it, and Mr. Karotkin did, and Mr. Johnston did, and I look

  21    for you to do it too.         So do your best and take a look at what

  22    he said, and certainly the record reflects what Mr. Johnston

  23    offered and you heard me say.

  24                MR. JOHNSTON:      And Your Honor, I can confirm at least

  25    the draft that I saw, kind of, immediately before the plan and

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   1    confirmation order were filed, contains the language that's set

   2    forth on Exhibit A to our filing last night --

   3                THE COURT:     Okay.

   4                MR. JOHNSTON:      -- verbatim.

   5                THE COURT:     Okay.

   6                MR. JOHNSTON:      Thank you.

   7                THE COURT:     Thank you, Mr. Etkin, I appreciate your

   8    efforts, and Mr. Johnston.             I'm going to excuse you both now

   9    because we've got the remaining issue, I think, with the

  10    creditors' committee.         All right.       Thank you.

  11                Mr. Karotkin, while -- I guess we're going to bring

  12    Mr. Bray in, and I don't know if the -- let me just check and

  13    see if anybody has put up a hand.              No, I don't know -- I guess

  14    Mr. Bray is coming in.         And I don't know if any -- Mr. Julian

  15    or Mr. Richardson wanted to, but they don't need to unless they

  16    choose to.

  17                So Ms. Parada, are you finding Mr. Bray?                 Is he on

  18    your list?

  19                THE CLERK:     Yes, Your Honor.         Mr. Bray is joining in

  20    now.

  21                THE COURT:     So Mr. Karotkin, while Mr. Bray is

  22    checking in with us, I have to digress and tell you something

  23    that I didn't know the other day.              I'll let --

  24                Oh, good afternoon, Mr. Bray.             Just state your

  25    appearance.

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   1                MR. BRAY:     Good afternoon, Your Honor.           Gregory Bray,

   2    Milbank LLP, counsel for the unsecured creditors' committee.

   3                THE COURT:     So Mr. Karotkin, the other day when you

   4    were citing Arriva, the name didn't mean much to me because I

   5    just didn't recognize it.          And now of course you take issue

   6    with my conflating Section 365 with 1124, and I will agree with

   7    you that they don't mention each other, but the concepts are

   8    pretty much obvious because 1123 says you can have a plan that

   9    assumes an executory contract consistent with 365, and the

  10    notion of a plan that doesn't cure a default wouldn't pass

  11    muster under 365, and it wouldn't pass muster as part of

  12    confirmation.

  13                And it's true, an executory contract being assumed

  14    isn't treated as an impaired claim, but you cited Arriva.                     So I

  15    went back, and something rang a bell with Arriva.                   And so what

  16    I'm going to tell you is just a story that in about -- you'll

  17    see the Arriva decision was decided by colleague, Judge Jellen

  18    in April.     Earlier that year, I got recruited to be a mediator

  19    or settlement judge in that case.             And I spent a long time with

  20    the litigants in that case, the very people who are named in

  21    the case and, unhappily, didn't bring about a consensual

  22    resolution.     Thus, Judge Jellen wrote the decision.

  23                And briefly, I saw him or talked to him after he

  24    issued it, and I said, you know, I tried to get that case

  25    settled, and I think your decision is wrong.                So I've disagreed

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   1    with my colleague, Judge Jellen, for years about Arriva.                      But

   2    the principle, I think, is still valid, and I'm not going to

   3    change any outcome.

   4                And let's hear from Mr. Bray as to what issue is still

   5    alive, because your proposal, Mr. Karotkin, I think, is

   6    persuasive, but I want to hear what the committee says.

   7                MR. BRAY:     Yes, thank you, Your Honor.            On the first

   8    issue, the 8.2 paragraph 34(d) of the confirmation order, the

   9    debtors' submission closed the issues significantly.                   Really

  10    the only area of disagreement is whether or not the term

  11    "nonmonetary" should be in the discussion of Section 8.2E.

  12    Otherwise, our submission and the debtors' proposed submission

  13    are essentially the same.

  14                THE COURT:     Well, this gets back --

  15                MR. BRAY:     But --

  16                THE COURT:     This gets back to the whole point, my

  17    thinking about 1124.        And what threw me for a loop here was

  18    that Mr. Karotkin correctly cites Section 365 in what he filed

  19    this morning, but 365 says "such default", it doesn't say

  20    "monetary default".        And then when you read further, you'll see

  21    that certain nonmonetary defaults can be dealt with.                   But if

  22    you go to the debtors' plan, and this is --

  23                MR. BRAY:     Yes.

  24                THE COURT:     -- where I looked at Section 8.2A, 8.2A --

  25                MR. BRAY:     8.2A, Your Honor, yes.          Yes.

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   1                THE COURT:     Huh? 8 --

   2                MR. BRAY:     In 8.1A they only say they're curing

   3    monetary defaults.

   4                THE COURT:     It doesn't use the nonmonetary.              So --

   5                MR. BRAY:     That's right.

   6                THE COURT:     So the plan seemed a little unfaithful to

   7    the statute.

   8                MR. BRAY:     I agree.

   9                THE COURT:     And Mr. Karotkin, that was the concern I

  10    had.     So it gets back to, of course 1124 doesn't apply,

  11    technically.     But given L & J Anaheim in this circuit, to me,

  12    you have to be consistent, particularly when you have an

  13    executory contract assumption as part of a plan.                    A standalone

  14    365 motion maybe you get away with.              But the plan says you've

  15    got to cure a default.         1124 says you've got to cure defaults.

  16    Excuse me, and 365 says it.

  17                So how do we fix this, Mr. Bray, by picking

  18    nonmonetary defaults that can be dealt with the way the statute

  19    says they can be dealt with.            It can be dealt with --

  20                MR. BRAY:     Your Honor --

  21                THE COURT:     -- in some other form.

  22                MR. BRAY:     -- there are a two -- or a couple of fixes

  23    here.     One of them is to fix 8.1A, say that they'll also cure

  24    the nonmonetary defaults that they're supposed to cure under

  25    the Code.

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   1                THE COURT:     That they can --

   2                MR. BRAY:     And then --

   3                THE COURT:     That the Code requires it, they can, yes.

   4                MR. BRAY:     Exactly, that they're required to cure.

   5    And then you could go with the language as it is, or as the

   6    debtor proposed it.        The other option is to just simply strike

   7    "monetary" or "nonmonetary" from the debtors' submission or

   8    proposed language and just say "defaults".                That still doesn't

   9    cleanly resolve the issue, but it also resolves the ambiguity

  10    because they're only referencing monetary defaults in 8.1A,

  11    therefore the logical interpretation of 8.2E would be that it's

  12    only the defaults that they cured.

  13                Either one of those is satisfactory to us, Your Honor.

  14    We're not -- we don't want this to become a relitigation of

  15    issues you put to bed in your decision.               We're really trying,

  16    at this point, to be constructive on this issue and to just

  17    have an unambiguous statement with respect to 365 and

  18    assumption and cure.        And we appreciate the debtor having made

  19    a movement on this.        The issue is pretty narrow at this point.

  20    Either of those fixes are fine with us, Your Honor, and then we

  21    can talk about the fire claim whenever you like.

  22                THE COURT:     Mr. Karotkin, what's your choice?             You've

  23    got two choices; which one would you like?

  24                MR. KAROTKIN:      I think -- I'm not sure I understand

  25    the first choice.

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   1                THE COURT:     Well, you would expand 8.1 --

   2                MR. BRAY:     1A.

   3                THE COURT:     -- 1A to include nonmonetary defaults.

   4                MR. BRAY:     That are required to be cured under the

   5    Code.

   6                THE COURT:     Well, yes, of course.          You can't -- the

   7    Code gives you -- the trustee, a right to avoid certain --

   8                MR. BRAY:     Correct.

   9                THE COURT:     It's a very narrow band of nonmonetaries.

  10                MR. BRAY:     Agreed.

  11                THE COURT:     I mean, again, Mr. Karotkin, this is why I

  12    got so focused on this because it seemed to me that, whether it

  13    was intentional or not -- I'm not going to get into that, you

  14    have to be faithful to what 1124 would require if this were

  15    governed some other way.          And even apart from 1124, it's got to

  16    be consistent with 365.         And --

  17                MR. KAROTKIN:       Well, Your Honor, I don't, frankly,

  18    think 1124 applies here at all.

  19                THE COURT:     I know you don't.

  20                MR. KAROTKIN:       And I know you disagree with me, but I

  21    don't, frankly, see how reinstatement or unimpairment have

  22    anything to do with the assumption of an executory contract.

  23                THE COURT:     I just said -- I said it's the concept.

  24    It's the concept.       You cannot -- and I'm not -- I concede the

  25    point that you measure performance under 365.                 But it is so

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   1    parallel to the concept of 1124.

   2                But it doesn't matter.          Why not just go with the

   3    nonmonetary defaults, the way Mr. Bray suggests, except those

   4    that are not required?         Again, I feel like we're talking about

   5    angels on a pin here.

   6                MR. KAROTKIN:      More than likely.         I think what I would

   7    like to do -- I don't want to impose on people.                 I would like

   8    to take a ten-minute recess to discuss it with my co-plan

   9    proponents to see what we would agree to, if I could indulge

  10    the Court.

  11                THE COURT:     Okay.       Well, what about fire plan?        Are we

  12    settled on fire plan, Mr. Bray?

  13                We'll take a ten-minute recess in a minute, Mr.

  14    Karotkin, because this might be our last issue.

  15                MR. KAROTKIN:      Yes.

  16                MR. BRAY:     On the fire claim, Your Honor, again, I

  17    understand that there is -- I understand the logic of drafting

  18    into the order your statement on this.               My concern is you also

  19    said -- I reread your statement or part of your decision on

  20    this several times -- that, and I'm just -- what you said

  21    was -- I'm sorry; I've got to find it here.                "The Court agrees

  22    with the debtors, but it is best to avoid ambiguity before the

  23    problem arises".

  24                The part of the definition that continues to trouble

  25    is the phrase, and I quote:            "in any way arising out of the

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   1    fires".    That very broad statement could be interpreted to

   2    mean, if you have a contractual claim, that basically it is

   3    channeled and it somehow has something to do with a fire, it's

   4    channeled into the trust, even though you're not a fire victim

   5    and you were in the general GUC class of claims.

   6                So in our submission, Your Honor, that's the issue

   7    we're trying to clarify.          And I'm trying to do it consistently

   8    with what you said in your decision to avoid unnecessary

   9    ambiguity before a problem arises.             I don't know how else to

  10    say it.    We submitted some language to you on this.                 It's --

  11                THE COURT:     Well, Mr. Bray, what about --

  12                MR. BRAY:     -- pretty straightforward.

  13                THE COURT:     What about the fourth line of the proposed

  14    language in the debtors' document 8020, page -- I forgot what

  15    page it is, 6, I believe.          They quote -- they said here's a

  16    provision they're going to put in the confirmation order that

  17    tracks my decision.        That, to me, seemed right on --

  18                MR. BRAY:     Right, but it's right from your decision.

  19    The issue is --

  20                MR. KAROTKIN:      It's right from your decision.

  21                THE COURT:     Yeah.

  22                MR. KAROTKIN:      You said -- I mean, you said the

  23    definition was clear.         What Mr. Bray's raising is -- with

  24    respect to a defined term that has been in the plan since day

  25    one, negotiated, all of a sudden, he wants to pre-legislate how

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   1    that turns out in a particular situation.               This may never come

   2    up, and we -- I've said this before.              It ought to be addressed

   3    in the context of a real live dispute --

   4                THE COURT:     That's why I --

   5                MR. KAROTKIN:      -- rather than --

   6                THE COURT:     That's why I liked your language.

   7                MR. KAROTKIN:      Okay.     And that's why we liked your

   8    language.     And I think that this addresses the issue.                At

   9    least, Your Honor, you and I are in agreement on this.                   And --

  10                THE COURT:     I mean, I guess the --

  11                MR. KAROTKIN:      -- and what Mr. Bray's trying to do --

  12                THE COURT:     -- there might be a -- there might be a

  13    fire victim out there who also is a counterparty to a contract

  14    the debtor seeks to assume.            But it just seems so unlikely, and

  15    I -- although I do recognize and recall several of the lawyers

  16    or various counterparties arguing about the confusion about it.

  17    And all I was trying to do was to separate out the concept of

  18    who is harmed by a fire and who is affected by an operation of

  19    this strange animal in bankruptcy called assume a contract.

  20                And they're two -- they're com -- they're apples and

  21    oranges, for the most part.            You can have the same person who's

  22    in both categories, but that's a rarity.

  23                MR. BRAY:     Your Honor, I agree with that -- with the

  24    clarification you've just made.             We'll submit on the issue.

  25                THE COURT:     Okay.

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   1                MR. BRAY:     That's fine.

   2                THE COURT:     Mr. Karotkin, you got your language.

   3                MR. KAROTKIN:      Okay.     Thank you.

   4                THE COURT:     All we have left is the issue of

   5    nonmonetary default.        If you want to recess, we can do it.               But

   6    we don't have much else to do, other than to --

   7                MR. KAROTKIN:      No, I don't think we have anything else

   8    to do after that, unless someone's raising their hand.

   9                THE COURT:     Mr. Pascuzzi, Mr. Troy, they had actually

  10    asked to be heard before -- and Mr. Abrams.                I may let Mr.

  11    Abrams in, but I'll call Mr. -- or ask Mr. -- Ms. Parada to

  12    bring Mr. Pascuzzi and Mr. Troy in.              They -- they're probably

  13    related to this issue.

  14                And by -- while we're doing that, Mr. Karotkin, unless

  15    Mr. Pascuzzi or Mr. Troy have a different take on this, rather

  16    than take a recess, I'd be more inclined to tell you that I'll

  17    go -- I believe what -- Mr. Bray offered two alternatives.                     You

  18    can just pick the one you like.             I'm going to stick with one or

  19    the other, because I think the absence of the nonmonetary

  20    portion of the default is something that has to be fixed.                     And

  21    he and I are offering you the way -- either way you want to fix

  22    it.

  23                MR. KAROTKIN:      I appreciate that, Your Honor, but I

  24    think -- I would prefer a recess so that when we come back, we

  25    can actually get the exact words and there's no

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   1    misunderstanding.       If you don't mind.

   2                Your Honor, can you hear us?

   3                MR. BRAY:     I don't see him on the screen, either.

   4                MR. KAROTKIN:      He's frozen on my --

   5                THE CLERK:     It sounds --

   6                MR. KAROTKIN:      -- screen.

   7                THE CLERK:     -- like he's frozen.          One moment while I

   8    check in with Judge Montali.

   9                THE COURT:     And take advantage of your ten-minute

  10    recess.     But I -- poor Mr. Pascuzzi and Mr. Troy were stranded

  11    there.

  12                Okay.    Mr. Pascuzzi, state your appearance, please.

  13    And sorry for the delay.

  14                MR. PASCUZZI:      Thank you, Your Honor.          Paul Pascuzzi

  15    for the California state agencies.

  16                Your Honor, our issue has to do with -- not 8.2(e),

  17    but it does have to do with executory contracts and a provision

  18    in the confirmation order, specifically paragraph 67(d), as in

  19    Dog.     And there's a provision in there that is unique to

  20    governmental units that the debtors added.                If you recall, the

  21    issues regarding cure and executory contract are put off,

  22    basically, until after confirmation.

  23                And that's all fine, but the debtors have added

  24    something in the last sentence of 67(d) that requires

  25    governmental units, such as Mr. Troy's clients and my clients,

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   1    to file something with the Court if -- within ninety days of

   2    the confirmation date.         Nobody else has to do that.            All of the

   3    other parties are governed by 34(a) and (b), which is fine, and

   4    everybody's rights are preserved.

   5                So we are objecting to the last sentence of 67(d),

   6    which puts a special burden and may attempt to shift the burden

   7    on us with regard to executory contracts.

   8                THE COURT:     Okay.

   9                MR. PASCUZZI:      We had asked the debtors to take this

  10    out, but they apparently decided not to, because it's still in

  11    there.

  12                THE COURT:     Are you looking at -- what's the date of

  13    the filing of that version?            Because I don't have the most

  14    recent one.     I have the June 14th --

  15                MR. KAROTKIN:      It's not new.       It's not new.

  16                MR. PASCUZZI:      It's -- it was in there before, Your

  17    Honor.    It should --

  18                THE COURT:     Okay.

  19                MR. PASCUZZI:      -- still be in there.

  20                THE COURT:     So I -- in document 7938-1?

  21                MR. PASCUZZI:      We've been asking them to take it out

  22    for a while, so --

  23                THE COURT:     Okay.       One second.

  24                One second, because I haven't had occasion to read

  25    this.

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   1                Okay.    Mr. Karotkin, why -- what does this add to

   2    the -- and Mr. Troy, are you -- before you -- Mr. Karotkin,

   3    before you speak, let Mr. Troy -- why don't you unmute and

   4    state your appearance also?

   5                MR. TROY:     Thank you, Your Honor.          Matthew Troy, U.S.

   6    Department of Justice - Civil Division, on behalf of --

   7                THE COURT:     Okay.

   8                MR. TROY:     -- various government agencies.

   9                THE COURT:     Mr. Karotkin, why do you need this guy in

  10    there?

  11                MR. KAROTKIN:      Well, I mean, Mr. Pascuzzi makes it

  12    sound like this is worse than everybody who has an executory

  13    contract, when, in fact, it's better.              We gave them an

  14    additional ninety days to come back to us with their cure

  15    amounts.     And essentially, what they're saying is, well, as to

  16    the government and as to the state government, they never have

  17    to do that.

  18                So we're out there in limbo at their pleasure.                  And

  19    when they feel like coming back to us and telling us something,

  20    well, that's fine.        I mean -- but that's not fine.            We're

  21    entitled to know what defaults there are under these contracts.

  22    Everybody else was required to come forward with their cure

  23    amounts.

  24                THE COURT:     Okay.       Just --

  25                MR. KAROTKIN:      We gave the government an extra ninety

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   1    days.

   2                THE COURT:     Because I'm overloading -- my Wi-Fi and my

   3    brain are overloading here, almost, tell me how this actually

   4    works.    If the plan were confirmed today and Mr. Pascuzzi has

   5    an agency that has a contract being assumed, what happens under

   6    your proposal?       They have ninety days to do what?              What happens

   7    then?

   8                MR. KAROTKIN:      Well, they have ninety days to serve an

   9    objection setting forth the dispute with respect to whether or

  10    not it's an assumed contract, and the cure amount.

  11                THE COURT:     Okay.       So --

  12                MR. KAROTKIN:      But --

  13                THE COURT:     -- if they were not -- if we weren't at

  14    confirmation, if this was just a 365 motion against CAL FIRE or

  15    any other agency, there'd be a deadline for them to assert

  16    their defaults and --

  17                MR. KAROTKIN:      Yeah, which everyone else already had

  18    their deadline.

  19                THE COURT:     Mr. Pascuzzi, what's the problem?

  20                MR. PASCUZZI:      Your Honor, we filed our objection as

  21    well, at docket 7276.         And so just like everybody else, we

  22    filed our objections.         Under paragraph 34(a) and (b) of the

  23    confirmation order, our rights are preserved subject to being

  24    resolved post-confirmation.            And so I don't know what this last

  25    sentence of 67(d) is for, other than maybe trying to shift the

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   1    burden to us that the debtors should have under 365 with

   2    respect to assuming a contract.              It's unnecessary.

   3                MR. KAROTKIN:      There's no burden -- the burden is on

   4    the counterparty to come forward with the cure amount.

   5                THE COURT:     No, the --

   6                MR. KAROTKIN:      And what --

   7                THE COURT:     The gover --

   8                MR. KAROTKIN:      What Mr. Pascuzzi is saying is they

   9    never have to do that.

  10                THE COURT:     Well --

  11                MR. KAROTKIN:      That's not how it works.

  12                THE COURT:     Well, Mr. Pascuzzi, if there's a -- if a

  13    debtor assumes a contract and the counter -- and doesn't admit

  14    to any defaults, the burden is on the counterparty to say, hey,

  15    there's a default.        Right?       And --

  16                MR. PASCUZZI:      Yes.

  17                THE COURT:     -- and if the debtor says there is a

  18    default, it's 100 dollars, the burden's on the counterparty to

  19    say, no, it's 500 dollars.             So --

  20                MR. PASCUZZI:      You're --

  21                THE COURT:     -- why is this different?

  22                MR. PASCUZZI:      It's not different at all, Your Honor.

  23    We have already filed an objection to their list of executory

  24    contracts in the plan supplement that they want to assume, and

  25    the cure amounts, because there are several bases for that.                    We

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   1    already filed it.       It's at docket 7276.

   2                THE COURT:     Well, if you've already filed it, then

   3    this paragraph descends -- doesn't -- isn't operative.

   4                MR. PASCUZZI:      It makes no sense that the sentence is

   5    even in there, because paragraph 34(a) and (b) already preserve

   6    our rights and the United States' rights for this to get

   7    resolved post-confirmation.             So I don't know what this sentence

   8    is or why it's in there.

   9                THE COURT:     Okay.       Mr. Troy --

  10                MR. KAROTKIN:      Because --

  11                THE COURT:     -- you have a different -- the same

  12    argument?

  13                MR. TROY:     The exact same argument, Your Honor.                 And I

  14    also wanted to emphasize that we also -- the United States also

  15    filed a cure objection at document number 7273.

  16                MR. KAROTKIN:      Providing no cure amounts whatsoever.

  17                THE COURT:     Okay.       But keep in mind that I have not

  18    had the time or the inclination to go look at cure amounts.                         We

  19    thought -- I thought we were reserving cures.                  But --

  20                MR. TROY:     Your Honor, if I could address this?                 If

  21    you recall, when I cross-examined Mr. Boken, I was given a

  22    little leeway, and then Mr. Tsekerides and Karotkin -- Mr.

  23    Karotkin jumped in and said, we're not really sure why we have

  24    to do this.     It's not relevant.           All the executory contract

  25    cure issues are preserved.             Look at the new draft of the

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   1    confirmation order we just filed.              Paragraph 34 preserves all

   2    this.    I'm not sure why Mr. Troy needs to do this.

   3                THE COURT:     Mr. Karotkin, if Mr. Pascuzzi, on behalf

   4    of his many clients, has already filed his response to the

   5    executory contract issues, he doesn't have to do anything under

   6    this last sentence, right?             Isn't that right?

   7                MR. KAROTKIN:      If he's filed his cure amounts --

   8                THE COURT:     If he's already done it.            If he's done it.

   9                MR. KAROTKIN:      If he's already complied with it, then

  10    he's already complied with it.

  11                THE COURT:     And what if some other governmental agency

  12    hasn't done anything yet?          This gives them ninety days to do

  13    it, right?

  14                MR. KAROTKIN:      Right.      Yes.

  15                THE COURT:     So again, I'm -- I wonder for you two

  16    counsel for the two governmental agencies, if you're worried

  17    about something that you just can ignore, because you've

  18    already acted.       I mean, what's the worst that can happen?                 I

  19    mean, why do you have to do anything if you've already done

  20    this?

  21                MR. PASCUZZI:      Your Honor, this is Paul Pascuzzi.

  22                I don't know what this sentence means, if it means

  23    something different than what we've already done.                    And --

  24                THE COURT:     What about if --

  25                MR. PASCUZZI:      -- that's really the point.

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   1                THE COURT:     What about if we put on this record that

   2    any governmental agency that has already asserted any executory

   3    contract issues, including cures, doesn't have to do it again.

   4                MR. PASCUZZI:      And the burdens under 365 remain as --

   5    are not affected by this sentence, then that probably covers

   6    it.

   7                THE COURT:     I mean, I have --

   8                MR. PASCUZZI:      But while --

   9                THE COURT:     -- to -- I have a -- it sounded to me like

  10    this was pretty benign, actually, because the -- it's a lot

  11    longer than typical.        I mean, the typical is thirty days.               I

  12    mean, the debtor has already gotten my approval to extend some

  13    time to do their assumption.            And that's going to trigger a

  14    thirty-day restart.

  15                MR. KAROTKIN:      Well --

  16                THE COURT:     You've got the benefit of ninety days, no

  17    matter what.

  18                MR. KAROTKIN:      Your Honor, if Mr. Pascuzzi believes

  19    he's already complied with all he has to comply with, then it

  20    shouldn't be an issue.         We need to restate the law.

  21                THE COURT:     Right.

  22                MR. KAROTKIN:      We need to restate Section 365 to give

  23    him a comfort order.

  24                THE COURT:     Mr. Troy, is that how you -- again, is

  25    this conversation enough to make you comfortable?

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   1                MR. TROY:     Not entirely, Your Honor, no, because I'm

   2    still not sure why that paragraph is in there.                 I'm

   3    representing --

   4                THE COURT:     I just told you.        There might be some

   5    other governmental agency that's sound asleep.

   6                MR. TROY:     Well, Your Honor, they're covered --

   7    they're -- I would submit there aren't any.                I filed that cure

   8    objection on May 15th in accordance with the scheduling order

   9    and the disclosure statement order, and that covers it.

  10                MR. KAROTKIN:      If you think so, then you're covered.

  11                THE COURT:     Mr. -- to both of you -- they're both

  12    experienced in this case, experienced bankruptcy lawyers.                      You

  13    both have said that you have already done what you think you

  14    need to do, and you have both said, I've done what I got to do;

  15    it's up to the debtor to do something about it.                 It seemed to

  16    me you can safely ignore this paragraph -- or this sentence --

  17    this is six lines -- because you've already done it.

  18                And if, on the ninety-first day, if Mr. Karotkin pulls

  19    a got ya that says, ha-ha, I got ya, you didn't comply with the

  20    ninety days, I presume the two of you will whack his wrists and

  21    say, we already did it before then.              But if there is another

  22    agency, not -- maybe a state agency that -- if there is one

  23    that Mr. Pascuzzi doesn't -- well, not state agency, a

  24    governmental party -- that could be an irrigation district or a

  25    flood district or some local agency, couldn't it, Mr. Pascuzzi?

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   1                MR. PASCUZZI:      Your Honor, the language is limited to

   2    an agency or instrumentality of the State of California.                       So if

   3    it -- if you wanted to change the application of that paragraph

   4    to governmental units, I think you'd be broadening it.                    And I

   5    would have no opposition to that.

   6                THE COURT:     Well, I didn't -- I mean, again, you guys

   7    have done your homework on the definitions.                 I've got to go

   8    back and look at the plan.             Where'd I put my plan?        I --

   9                MR. KAROTKIN:      But Your Honor, what I don't understand

  10    is this -- this has been in the plan for weeks --

  11                THE COURT:     But he's --

  12                MR. KAROTKIN:      -- and this is the --

  13                THE COURT:     I think what he's saying -- but he's

  14    saying -- I don't -- he's saying, I've done it -- I've done

  15    what I have to do.

  16                MR. KAROTKIN:      Okay.      Then fine.

  17                THE COURT:     And I --

  18                MR. KAROTKIN:      If --

  19                THE COURT:     -- don't have to do it again.

  20                MR. KAROTKIN:      You said it.        If he's done it, he's

  21    done it.     He doesn't need a comfort order.

  22                THE COURT:     I agree with you.          I'm trying to agree

  23    with you.

  24                MR. TROY:     We're not asking for one, Your Honor.

  25                MR. KAROTKIN:      I mean, we've given the -- this plan --

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   1    this confirmation order has turned into a comfort order for

   2    governmental units.

   3                THE COURT:     Governmental units -- the plan defines

   4    "governmental unit" as the Code defines it.                The Code defines

   5    "governmental unit" to mean everything from a school district

   6    to the Office of -- the Internal Revenue Service and anywhere

   7    in between.     And if there is a contractual relationship between

   8    the debtor and a little local governmental agency, a city, a

   9    county, or something, then -- and if -- well, here, I -- if

  10    Berkeley, California has a contractual relationship with PG&E

  11    and there is a contract being assumed, and Berkeley is owed

  12    some cure amount, they've got ninety days to scream or die.

  13                Mr. Pascuzzi, you wouldn't have been in there

  14    representing the City of Berkeley, would you?

  15                MR. PASCUZZI:      Well, Your Honor, paragraph 67(d),

  16    though, does not apply to governmental units; it applies to

  17    governmental parties, which the debtors have defined to include

  18    my clients and Mr. Troy's clients.             Again, that's why we were

  19    flagging this paragraph as, why are they putting this in here

  20    as specifically addressing our issue -- these issues with us

  21    when 34(a) and (b) already cover it?

  22                THE COURT:     Okay.

  23                MR. PASCUZZI:      So --

  24                THE COURT:     Then why -- when --

  25                MR. KAROTKIN:      Because you were asking for -- because

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   1    you came to us and asked for additional time with special

   2    treatment.     And --

   3                THE COURT:     Where's the --

   4                MR. KAROTKIN:      -- we tried to accommodate you.

   5                THE COURT:     Where is the definition of "governmental

   6    party"?    Where will I find that?

   7                MR. PASCUZZI:      It's in 67(d) of the confirmation

   8    order, that same paragraph we were looking at.

   9                THE COURT:     No.     Where is it a defined term?

  10                MR. KAROTKIN:        In paragraph 67(d), in the middle, line

  11    10.

  12                THE COURT:     Oh.     I see.    So Mr. Karotkin, let's talk

  13    about my hypothetical of the City of Berkeley, who has a

  14    contractual relationship with PG&E.              They're not governed by

  15    this ninety days, then?

  16                MR. KAROTKIN:        No, they're governed by other

  17    provisions, which I believe required them to already do this.

  18                THE COURT:     Well, this is one of those things where,

  19    here are, it's 20 minutes to 2 our time on the day and time to

  20    confirm this plan.        And two experienced lawyers say, why do I

  21    have to worry about this paragraph; it doesn't mean anything.

  22    And Mr. Karotkin says, if you've already complied with it, you

  23    don't need it.       And I'm going, well, what's the harm in doing

  24    nothing?

  25                Look, I'm going to -- Mr. Pascuzzi and Mr. Troy, I

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   1    don't -- I think you well know whether your clients have

   2    complied with this requirement of this sentence.                    And if they

   3    haven't, they've got ninety days to do it.                I don't think it's

   4    necessary to do anything further about it.                This colloquy is on

   5    the record.     If Mr. Karotkin tries to take a different point of

   6    view in the future by saying, you didn't comply, you lose, he

   7    will lose, because he's just clarified what he said.                    And I

   8    think the record speaks for itself on that.

   9                MR. KAROTKIN:      Your Honor, I'll just say one last

  10    thing.    The company has a lot of relationships with the United

  11    States government and the State of California.                 It's not going

  12    to do anything irresponsible in that regard to jeopardize those

  13    relationships.

  14                THE COURT:     I -- that's fine.         I do appreciate the

  15    problem, and I'm not faulting these lawyers for raising it.

  16    But I think, given the clarification, they don't have much to

  17    worry about on this one.          So --

  18                MR. PASCUZZI:      Thank you, Your Honor.

  19                THE COURT:     Okay.

  20                MR. TROY:     Thank you.

  21                THE COURT:     Now --

  22                MR. KAROTKIN:      I would still, Your Honor, like a ten

  23    or fifteen-minute recess.          And I think that we can resolve

  24    this.    I'd just rather do it on the record so we know it's

  25    resolved and everyone agrees to it.              So if I can --

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   1                THE COURT:     Okay.

   2                MR. KAROTKIN:      -- indulge the Court --

   3                THE COURT:     Hold on.

   4                Mr. Abrams, you've got your hand up.              I'm not going to

   5    call upon you.       I'm dealing with confirmation issues today, and

   6    I -- to the extent that you want to be heard, I know you have

   7    lots of things you want to be heard about.                But you are not a

   8    participant on the objections that are the subject of this

   9    hearing today.       So I'm not going to call on you and leave it at

  10    that.

  11                And Mr. Karotkin, I will -- I'll ask Ms. Parada.

  12                Ms. Parada, given my problems, would you -- should we

  13    just keep the Zoom session running and just tell Mr. Karotkin

  14    to go offline, and I'll mute out and close my screen, and we'll

  15    come back in about ten minutes?             Does that work for you?

  16                THE CLERK:     Yes, Your Honor.        I could keep the Zoom

  17    going, and whoever wants to log out can log back in, and I'll

  18    bring them back in at the --

  19                THE COURT:     Yeah.       I don't know what --

  20                THE CLERK:     -- after the recess.

  21                THE COURT:     I don't know what went wrong on my end.

  22                But -- okay.      Mr. Karotkin, by my calculation, it's

  23    about 10, 20 -- 20 minutes to 2 our time.               We'll -- do you

  24    think ten is enough, or do you want a little longer?

  25                MR. KAROTKIN:      How about fifteen?

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   1                THE COURT:     Okay.       We'll start at 5 minutes to 2 our

   2    time.     And for everyone who's monitoring, I'll just -- I'm just

   3    going to mute and close down my screen and see you all in

   4    fifteen minutes.       Okay?

   5                All right.     Thank you.

   6         (Whereupon a recess was taken)

   7                THE COURT:     Mr. Karotkin, Mr. Bray and I were

   8    speculating on whether you left us and walked out on the

   9    hearing.

  10                MR. KAROTKIN:        I was thinking about it.

  11                THE COURT:     All right.       What's the verdict?

  12                MR. KAROTKIN:        So here's the proposal, and hopefully,

  13    it addresses what we were talking about.

  14                In 8.2(a) of the plan -- I'll make sure Mr. Bray has

  15    it handy.

  16                THE COURT:     I --

  17                MR. BRAY:     8.1, right?

  18                MR. KAROTKIN:        Well, actually, it's --

  19                MR. BRAY:     8.1?

  20                MR. KAROTKIN:      -- at -- it's at 8.2, I think.

  21                THE COURT:     8.2(a)?

  22                MR. KAROTKIN:        No, I think it meant 8.2(a), not

  23    8.1(a).

  24                MR. BRAY:     I have to find the provision now, sorry.

  25                THE COURT:     Well, the first sentence of 8.2(a) is "Any

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   1    monetary defaults", and that's where --

   2                MR. BRAY:     Right.       Exactly.

   3                THE COURT:     -- there was no reference to nonmonetary.

   4                MR. KAROTKIN:      So what we would propose -- unless Mr.

   5    Bray wants me to wait?

   6                MR. BRAY:     No, I'll follow.        Go ahead.

   7                MR. KAROTKIN:      We would suggest, in 8.2(a), deleting

   8    the word "monetary" in the first sentence -- in the first line.

   9    And then in the third line, where it says, "By payment of the

  10    default amount", we would add the words if applicable -- comma

  11    if applicable comma.        And then --

  12                THE COURT:     Well, wait one second on that.             Remember,

  13    the statute allows you to do something other than pay.

  14                MR. KAROTKIN:      Well, that's why we said, if it's

  15    payable -- if you keep reading, as reflected in the applicable

  16    cure notes, in cash.

  17                THE COURT:     Okay.

  18                MR. KAROTKIN:      That's how we address it.

  19                And then in the proposed language for 8.2(e) that we

  20    put in our pleading -- not the language that's in the plan, the

  21    one that we -- on page 6- -- 5 or 6 of the pleading --

  22                MR. BRAY:     Right.

  23                MR. KAROTKIN:      -- that we filed this morning --

  24                THE COURT:     Yeah.

  25                MR. KAROTKIN:      -- we would delete the words -- pardon

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   1    me -- on line 8, "whether monetary or nonmonetary".                    So it

   2    would just go, "In keeping to the fullest extent permitted

   3    until applicable law."

   4                THE COURT:      So let me read it with that strikeout.             So

   5    it says "Assumption", et cetera, leads "to the fullest extent".

   6                Mr. Bray?

   7                MR. BRAY:      Yeah, Your Honor, the only other thing we

   8    need to fix is the definition of "cure amount", which also only

   9    speaks to a monetary default.             That's why I referenced 8.1(a).

  10    If you look at the definition of "cure amount", it has the same

  11    issue.    And that was really why -- means the payment of cash or

  12    the distribution of other property to cure a monetary default.

  13    It's definition 1.40.          It's the same issue.

  14                THE COURT:      Well -- but the definition in -- oh,

  15    you're right.        The word --

  16                MR. BRAY:      Yeah.

  17                THE COURT:      -- "nonmonetary" is missing from the

  18    definition.

  19                MR. BRAY:      Right.

  20                THE COURT:      I had marked that also.

  21                MR. BRAY:      Yeah.

  22                THE COURT:      So do we fix it by the order, or, Mr.

  23    Karotkin, are we going to --

  24                MR. KAROTKIN:       Well, I think that -- I think that the

  25    words in the 1.40 actually word, because I think (b) covers the

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   1    other thing, which permit the debtors to assume -- as necessary

   2    to permit the debtors to assume or assume and assign.                   So I

   3    think it would cover that.

   4                THE COURT:     Okay.       Say that --

   5                MR. BRAY:     A nonmonetary -- I didn't read it that way.

   6    If there's a nonmonetary default, I read this to mean you don't

   7    have to cure it.

   8                THE COURT:     Well --

   9                MR. BRAY:     Subject to the --

  10                THE COURT:     Mr. Karotkin, you proposed -- the first

  11    thing you said -- you were striking "monetary" from the 8.2(a),

  12    right?

  13                MR. KAROTKIN:      Right.

  14                THE COURT:     So it says any default, so therefore it's

  15    saying defaults.       And then they're paid, if applicable, in

  16    cash.    But what if it's --

  17                MR. BRAY:     Right.

  18                THE COURT:     -- what if it's not in cash?             Where do we

  19    pick it up?

  20                MR. KAROTKIN:      You have to cure it under 365.

  21                THE COURT:     Well --

  22                MR. KAROTKIN:      Or on --

  23                THE COURT:     Why can't you --

  24                MR. KAROTKIN:      It's becoming really complicated now.

  25                THE COURT:     Well, this whole thing is complicated, but

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   1    so what?     That's why we're doing it.           I mean, I --

   2                MR. KAROTKIN:      I've been doing it on my --

   3                THE COURT:     Remember, Mr. Bray gave you two

   4    alternatives.

   5                MR. KAROTKIN:      I know.      Neither of which are

   6    appropriate.

   7                THE COURT:     Mr. Bray, do you remember the actual words

   8    of your alternatives?

   9                MR. BRAY:     Well, I -- if you look at -- if you -- I

  10    think you can fix this pretty easily.              In Section -- in def --

  11    the definition of "cure amount", 1.40, if you strike the word

  12    "monetary", it just says, "to cure a default as required by

  13    Section 365 of the Code," I think you fixed it there.                   And then

  14    the same with respect to 8.2(a).

  15                MR. KAROTKIN:      Yeah, but if you look at -- 1.40 says

  16    you're distributing cash to cure a monetary --

  17                MR. BRAY:     Well, the --

  18                MR. KAROTKIN:      -- default.

  19                MR. BRAY:     Right.       Right.

  20                THE COURT:     No, you're going too -- wait, Mr.

  21    Karotkin, you're going too fast for me.               1.39 is where Mr. Bray

  22    says, strike "monetary".

  23                MR. KAROTKIN:      Your Honor, I --

  24                MR. BRAY:     Yeah, it's 1.40, Your Honor, the definition

  25    of "cure".

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   1                THE COURT:     Well, that's a new -- what plan are you

   2    looking at?

   3                MR. BRAY:     It's 8.1(a).       It's -- 8.1(a) and 8.2 have

   4    the -- it's the -- they're the same issue.                They all refer to

   5    monetary defaults only.         That's how we got into this pickle.

   6    So the definition --

   7                THE COURT:     Yeah.

   8                MR. BRAY:     -- of "cure amount" in those two sections

   9    need to be revised to pick up for the possibility of having to

  10    cure a nonmonetary default, as required by the Code.

  11                THE COURT:     Yeah, I think he's right on that, Mr.

  12    Karotkin.

  13                Can -- but if you -- you can solve the problem by -- I

  14    think, by expanding the definition of "cure amount".                   And

  15    that --

  16                MR. BRAY:     Right, I think -- right.

  17                THE COURT:     And then you have --

  18                MR. KAROTKIN:      But we've already --

  19                THE COURT:     -- you have the ability to pay cash, if

  20    applicable.     But if they -- again, we might be talking about

  21    angels on a pin here.

  22                MR. KAROTKIN:      But it says, "The payment of cash or

  23    the distribution of other property, as necessary, to permit the

  24    assumption."

  25                THE COURT:     But the --

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   1                MR. BRAY:     Well, it says, "to cure a monetary

   2    default".

   3                THE COURT:     Your "cure amount" definition is more

   4    limited than the statute.

   5                MR. BRAY:     Right.

   6                THE COURT:     You don't have anything in the

   7    definitional section for --

   8                MR. KAROTKIN:      I know, but the --

   9                THE COURT:     -- taking care of nonmonetary defaults

  10    that are fixable.

  11                MR. KAROTKIN:      But the cure amount is a defined term

  12    so people can tell you the cash that you need to pay to cure.

  13                THE COURT:     Mr. Karotkin, look at the 1.39 --

  14                MR. KAROTKIN:      I'm looking at it.

  15                THE COURT:     -- (a) --

  16                MR. KAROTKIN:      I'm looking at it.

  17                THE COURT:     -- so the low -- "cure a monetary

  18    default".     So my question is, where are you curing a

  19    nonmonetary default?

  20                MR. KAROTKIN:      I'm curing it in 8.2(a).

  21                THE COURT:     But you're not curing it in your

  22    definition.

  23                MR. KAROTKIN:      No, but the cure amount is dollars.

  24    That doesn't preclude the fact that you have to -- if there are

  25    things that have to be cured, they have to be cured.                   The cure

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   1    amount is just a definition of dollars.

   2                THE COURT:     It may not -- but it may not be a

   3    dollar --

   4                MR. KAROTKIN:      Not, but --

   5                THE COURT:     -- amount.

   6                MR. KAROTKIN:      -- but -- and I'm saying, Judge, in

   7    8.2(a), it requires you do everything.               But for purposes of the

   8    dollars, that's the cure amount that has to be paid.                   So I

   9    think it's entirely consistent.

  10                THE COURT:     Well -- but you're --

  11                MR. KAROTKIN:      In paragraph B --

  12                THE COURT:     I guess I'm still having --

  13                MR. KAROTKIN:      I think --

  14                THE COURT:     -- trouble with your being inconsistent --

  15    your definitions don't track the statute.               So why not --

  16                MR. KAROTKIN:      Yes, they do.       Yes, they do.       We're --

  17    the cure amount is not supposed to necessarily encompass

  18    everything.     It's supposed to encompass the cash element of the

  19    cure.

  20                THE COURT:     Okay.       Tell me about a non- -- tell me --

  21                MR. KAROTKIN:      8.2(a) -- if you look at 8.2(a), "Any

  22    default under an assumed or assigned contract shall be

  23    satisfied pursuant to Section 365(b) by the payment of"

  24    applicable -- "of cash on the effective date or on such other

  25    terms."

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   1                THE COURT:     Okay.       Again, I -- I'm wonder -- we're on

   2    the same version.       So I'm in 8.2(a), and you said you would

   3    strike the second word, which is "monetary".                And so then it

   4    would read, any default that is curable later on in cash, if

   5    applicable, or something like that.

   6                So what if we have a nonmonetary default that needs to

   7    be cured by noncash matters?            How is it -- where do you take

   8    care of that?

   9                MR. KAROTKIN:      That's -- actually, now looking at it,

  10    that's in paragraph B of the definition of "cure amount",

  11    because you're required to do anything else that's necessary --

  12                MR. BRAY:     Well --

  13                MR. KAROTKIN:      -- to do the cure.

  14                MR. BRAY:     -- it says "and".        It doesn't because it

  15    says "and".     It's not an "or".         It's still not -- I thought

  16    about that, too.

  17                MR. KAROTKIN:      "And" and "or" are the same.

  18                THE COURT:     Yeah, I don't think that solves the

  19    problem, either.       But again, we ought to be able to fix this.

  20    And I'm not --

  21                MR. KAROTKIN:      Your Honor, I think it worked.

  22                THE COURT:     Well, let's go back to what the committee

  23    and Mr. Bray suggested and whether that --

  24                MR. BRAY:     Our fix was just 8.2(e) that just

  25    referenced monetary defaults and tracked the other provisions.

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   1                THE COURT:     Right.      That's right.

   2                MR. KAROTKIN:      Which was what?        Just to delete those

   3    four words, five words?

   4                MR. BRAY:     The nonmonetary defaults, deleted "or

   5    non" -- I think or -- yeah, deleted "or nonmonetary default".

   6                THE COURT:     Yeah, he did -- that's what he did on what

   7    he filed this morning, on page --

   8                MR. BRAY:     Yeah.

   9                THE COURT:     -- page 5 or 6.

  10                MR. BRAY:     Page 3.

  11                THE COURT:     In that indented quote, he struck "whether

  12    monetary or nonmonetary".

  13                MR. KAROTKIN:      That's what I proposed with respect to

  14    8.2(e) as well ten minutes ago.

  15                MR. BRAY:     I just -- Your Honor, I think we just need,

  16    in the confirmation order, some clear statement that both

  17    monetary and nonmonetary defaults could be cured as required by

  18    the Code.

  19                THE COURT:     Well -- and I think --

  20                MR. BRAY:     And I think we're --

  21                THE COURT:     But I think that's what you're suggesting,

  22    because everything -- every time we talk about 8.2, we're also

  23    talking about --

  24                MR. BRAY:     Right.

  25                THE COURT:     -- paragraph 34(d) of the order.

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   1                MR. BRAY:     Right.       Right.   Right.    I think we just add

   2    a provision that says what I just said:               and any -- the debtors

   3    shall cure any monetary or nonmonetary defaults to the extent

   4    required by Section 365.

   5                MR. KAROTKIN:      Well, now we're talking about other

   6    changes?

   7                MR. BRAY:     I -- it's just --

   8                MR. KAROTKIN:      Or 8.2(e)?

   9                MR. BRAY:     No, it would -- well, I --

  10                MR. KAROTKIN:      Now --

  11                MR. BRAY:     -- was thinking --

  12                MR. KAROTKIN:      -- we're going beyond 8.2(e)?

  13                THE COURT:     No, I don't think he is.           I -- again, look

  14    at his -- look at -- I thought Mr. Bray was agreeing to the

  15    language, Mr. Karotkin, that you had mentioned this morning.                  I

  16    mean, I -- maybe I'm missing --

  17                MR. BRAY:     Yeah, we -- the difference was -- the issue

  18    was the inclusion in their language of the nonmonetary

  19    defaults.     That's been the distinction between our two

  20    provisions all along.         So we either make it -- we -- I think

  21    the fix is to make it clear in the plan or the disclosure

  22    statement -- or, I'm sorry, the order that the debtor, to the

  23    extent they're required to do it under the Code, will cure

  24    nonmonetary defaults.

  25                MR. KAROTKIN:      I think that the best way to do this

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   1    is, with respect to paragraph 8.2(e), is just to delete the

   2    reference to "whether monetary or nonmonetary" and be done with

   3    it.

   4                THE COURT:     Shouldn't the (e) --

   5                MR. KAROTKIN:      And that's what Mr. Bray propo -- I

   6    think that's he proposed this morning.

   7                THE COURT:     Well, I'll make one nitpick with you.

   8    Wouldn't it be better to take the (e) out of the -- well, never

   9    mind.     Wait, excuse me.      No, I'm sorry.        Yeah, take -- just

  10    make 8.2 -- 8.2, delete -- strike the word "monetary" in 8.2(a)

  11    and then -- and make the same change in 8.2(e).                 In other

  12    words --

  13                MR. BRAY:     Yeah, that would work, Your Honor.

  14                THE COURT:     That's consistent.         You take "monetary"

  15    out of 8.2(a) and take "whether monetary or nonmonetary" out of

  16    8.2(e).    And then the confirmation order, you take the phrase

  17    "whether monetary or nonmonetary".

  18                MR. KAROTKIN:      But I just want to make -- can I just

  19    ask -- if you look at what we proposed in our pleading this

  20    morning or this afternoon --

  21                THE COURT:     I'm looking at it.

  22                MR. KAROTKIN:      Okay.     On page 6 -- or 5, we would

  23    delete at the end, "whether monetary or nonmonetary".

  24                THE COURT:     I -- you got -- I got you.           I got you.

  25                MR. KAROTKIN:      Okay.     Is that -- all right.         So we

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   1    will do that.        And then in -- I guess, in 8.2(a), delete the

   2    word "monetary" --

   3                THE COURT:      Yes.

   4                MR. KAROTKIN:       -- and be done with it?

   5                THE COURT:      And that's con -- then you're consistent.

   6                MR. KAROTKIN:         Okay.   I think -- I thought that's what

   7    I said.

   8                THE COURT:      Mr. Bray, I think --

   9                MR. BRAY:      We're -- based upon this colloquy and those

  10    fixes, we're fine, Your Honor.

  11                THE COURT:      This is a drafting by --

  12                MR. KAROTKIN:         Okay.   But will you --

  13                THE COURT:      -- drafting --

  14                MR. KAROTKIN:       -- will you --

  15                THE COURT:      -- by committee.

  16                MR. BRAY:      Yes.

  17                MR. KAROTKIN:         So Mr. Bray, just so there's no

  18    misunderstanding, our language on page -- the second to the

  19    last page of our pleading, correct --

  20                THE COURT:      Yes.

  21                MR. BRAY:      I'll find it here.         Yeah.

  22                MR. KAROTKIN:       -- before the subsection fire claim --

  23                THE COURT:      You strike four words from the indent.

  24                MR. KAROTKIN:         Four words at the bottom:          "whether

  25    monetary or nonmonetary".           And in 8.2(a), we strike the word

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   1    "monetary".

   2                THE COURT:     That's correct.

   3                MR. BRAY:     That is correct.

   4                MR. KAROTKIN:      Done.

   5                MR. BRAY:     Yeah.    And then that, coupled with this

   6    exchange, I think we're fine.

   7                MR. KAROTKIN:      Okay.     Done.

   8                THE COURT:     We have agreement?

   9                MR. KAROTKIN:      Yes.

  10                MR. BRAY:     We do.

  11                THE COURT:     So Mr. Karotkin -- well, thank you,

  12    gentlemen.

  13                Mr. Karotkin, what's next?

  14                MR. KAROTKIN:      We file the revised plan -- we need to

  15    file a revised plan -- an actual formal revised plan to reflect

  16    today's -- whatever happened today, to address Mr. Bray's

  17    issue, to address -- well, the other -- I think, really, just

  18    to address Mr. Bray's issues.            And I think that's it.

  19                THE COURT:     Okay.

  20                MR. KAROTKIN:      Unless my colleagues tell me otherwise.

  21                THE COURT:     Is this something you're able to do or

  22    need to do?     Is it something you want us to be able to enter an

  23    order tomorrow?       We can do it if necessary.

  24                MR. KAROTKIN:      Yeah.

  25                THE COURT:     I'll do it today if necessary.             The

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   1    question's, can you do it?

   2                MR. KAROTKIN:      I think we can get you something in --

   3    within a couple of hours.          I've got to talk to my colleagues,

   4    but I believe -- I believe it doesn't require very many

   5    changes.

   6                THE COURT:     The question that I have for you is, is it

   7    critical from your point of view and the people that you're

   8    awaiting to hear from me that you get an order today versus

   9    tomorrow or Sunday or Monday?            And --

  10                MR. KAROTKIN:      I think tomorrow would be fine.            I

  11    think --

  12                THE COURT:     I mean, if not --

  13                MR. KAROTKIN:      -- people would --

  14                THE COURT:     There's no -- we can enter an order on a

  15    Saturday, and it's set.

  16                MR. KAROTKIN:      Right.     Well, as I said, we have -- we

  17    will provide a revised plan in this -- and confirmation order

  18    to you within a couple of hours.             We will file a plan

  19    supplement with the trust documents, and I believe that

  20    resolves everything.        And --

  21                THE COURT:     If you can --

  22                MR. KAROTKIN:      -- we will add the language -- I'm

  23    sorry, Mr. Johnson reminds me, we will add the language to

  24    address the side A resolution as well.

  25                THE COURT:     If you can upload the order today, we'll

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   1    enter it today.        It's not a problem.

   2                MR. KAROTKIN:       Okay.

   3                THE COURT:      I have to trust you, and I do.             And as I

   4    said, if there is a screwup, we'll fix it by an amended order,

   5    if necessary.        Obviously, nobody wants to do that.             And --

   6    but -- and if Mr. Bray and Mr. Etkin want to have a chance to

   7    weigh in, they've got a couple of hours to let you know of any

   8    last-minute problems.

   9                Well, Mr. Karotkin, your staff and you are in touch

  10    with my courtroom deputy frequently.               You can give her a heads

  11    up when you are about to upload -- to file the plan and upload

  12    the order.     My commitment to you --

  13                MR. KAROTKIN:       Will do.

  14                THE COURT:      -- will be, unless it's past bedtime,

  15    we'll manage to get that order entered today, unless it's --

  16    just can't be done, in which case we'll do it tomorrow.

  17                MR. KAROTKIN:       Okay.     Very well.      Thank you, sir.

  18                And thank you for your guidance throughout this

  19    process.

  20                THE COURT:      Well, I'm going to start by thanking.              I

  21    want to congratulate you and all of your staff and the two

  22    official committees.

  23                Mr. Bray, you've been main point lately, but certainly

  24    Mr. Julian and the committees, but also the unofficial

  25    committees, and the lawyers representing a number of the very

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   1    significant players:        the agencies, the governmental agencies,

   2    the state and federal, the various players representing other

   3    municipalities and governmental agencies that have played a

   4    role, and even the individual counsel who have been

   5    participating on behalf of their own clients.

   6                This has been a very comprehensive and complex

   7    challenge for everyone, but we've all set out to try to get the

   8    plan in place.       And hopefully, it is on the way now and will

   9    become effective.       So it's been a pleasure to see so many

  10    lawyers working diligently for their clients, but

  11    professionally and highest quality of legal work and civility

  12    and conduct of officers of the court of the highest order.

  13                So it's been my pleasure to oversee it.                 And I'm

  14    not -- you're not done with me yet, but this is an important

  15    point.    So I'm glad to be there and happy and thank you for

  16    your hard work and your efforts.

  17                MR. KAROTKIN:      Thank you, sir.

  18                MR. BRAY:     Thank you, Your Honor.

  19                MR. KAROTKIN:      It's very much appreciated.

  20                THE COURT:     Let me just take one --

  21                MR. KAROTKIN:      On behalf of my firm, our colleagues,

  22    the Cravath firm, and, of course, the company, foremost.

  23                THE COURT:     Okay.

  24                MR. BRAY:     Likewise, Your Honor, we appreciate it -- I

  25    appreciate it very much having the pleasure of appearing before

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   1    you.     And the committee thanks you for your efforts and --

   2                THE COURT:     Okay.

   3                MR. BRAY:     -- commitment to this case.

   4                THE COURT:     This is turning into a lovefest.

   5                Thank you all.       Have a good weekend.

   6                Mr. Karotkin, make sure Ms. Parada knows our schedule.

   7                MR. KAROTKIN:      Will do.

   8                THE COURT:     All right.       I'm going to end the session.

   9    Thank you all for your time.

  10                MR. KAROTKIN:      Thank you.

  11           (Whereupon these proceedings were concluded)

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